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                                                                                Page 1
                UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION
         -----------------------------------x
         FAIR FIGHT, INC.,
         SCOTT BERSON,
         JOCELYN HEREDIA,
         and JANE DOE,
                        Plaintiffs,

                    v.
         TRUE THE VOTE,
         CATHERINE ENGELBRECHT,
         DEREK SOMERVILLE,
         MARK DAVIS,
         MARK WILLIAMS,
         RON JOHNSON,
         JAMES COOPER,
         and JOHN DOES 1-10,
                        Defendants,
         FAIR FIGHT ACTION, INC.,
                        Counter-Defendant.
         -----------------------------------x
         Case No. 2:20-CV-00302-SCJ
         -----------------------------------x

          *** CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER ***
                        REMOTE DEPOSITION OF
                          DEREK SOMERVILLE
                     Wednesday, October 6, 2021
         __________________________________________________
                          DIGITAL EVIDENCE GROUP
                      1730 M Street, NW, Suite 812
                         Washington, D.C. 20036
                             (202) 232-0646


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                                                                                Page 2
   1                                        October 6, 2021

   2                                        9:17 a.m. Eastern Daylight Time

   3

   4                       Remote video deposition of DEREK

   5        SOMERVILLE, taken by Plaintiffs, pursuant to

   6        Notice, dated September 23, 2021, before Brandon

   7        Rainoff, a Federal Certified Realtime Reporter

   8        and Notary Public of the State of New York.

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                                                                                Page 3
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 21      ALSO PRESENT:
         ALICIA HOLMSTOCK, Legal Videographer
 22      ALEX RENNICK, Digital Document Technician


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                                                                                Page 4
   1     I N D E X       O F     E X A M I N A T I O N
   2     Witness:
   3     Derek Somerville
   4
   5     Examination:
   6     By Ms. Ford...........................Page 9
   7
   8                    I N D E X         O F      E X H I B I T S
   9        Exhibit A .................................Page 13
         Four-page document entitled: Plaintiffs Notice to
 10      Take the Deposition of Defendant Derek Somerville,
         dated September 23, 2021 (no Bates Nos.)
 11
 12         Exhibit B .................................Page 35
         Document Bates stamped Def. Somerville 0004,
 13      single-page SMS message From: Catherine Englebrecht,
         To: Derek Somerville, Date: December 17, 2020
 14
 15         Exhibit D .................................Page 41
         Multipage document bearing heading on first page:
 16      Derek Somerville (no Bates Nos.)
 17
 18         Exhibit C .................................Page 62
         Three-page email chain, top email From: Derek
 19      Somerville, To: Catherine Engelbrecht, Subject: RE:
         FW: Elector Challenge Follow-Up Items, Sent: December
 20      19, 2020 (no Bates Nos.)
 21
 22


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                                                                                Page 5
   1           I N D E X O F E X H I B I T S, CON'T
   2      Exhibit E .................................Page 94
         Three-page document entitled: True The Vote Partners
   3     With Georgians in Every County to Preemptively
         Challenge 364,541 Potentially Ineligible Voters (no
   4     Bates Nos.)
   5
   6      Exhibit F .................................Page 115
         Single-page email From: Catherine Engelbrecht, To:
   7     Amy Holsworth, Subject: Citizen Challenge Q&A Zoom
         call Sunday night at 6p et, Sent: December 19, 2020
  8      (no Bates No.)
  9
 10       Exhibit I .................................Page 125
         Single-page document bearing heading: Jim Flenniken
 11      (no Bates No.)
 12
 13       Exhibit G .................................Page 138
         Multipage document entitled: Defendant Derek
 14      Somerville's Responses to Plaintiffs' First
         Interrogatories, dated March 15, 2021 (no Bates Nos.)
 15
 16       Exhibit J .................................Page 145
         Multipage document entitled: Defendant Derek
 17      Somerville's Responses to Plaintiffs' First Requests
         for Production, dated March 15, 2021 (no Bates Nos.)
 18
 19       Exhibit L .................................Page 149
         Two-page document entitled: True The Vote Launches
 20      Georgia Election Integrity Hotline as Part of the
         Most Comprehensive Ballot Security Effort in Georgia
 21      History, dated December 15, 2020 (no Bates Nos.)
 22


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                                                                                Page 6
   1              I N D E X        O F      E X H I B I T S, CON'T
   2        Exhibit M .................................Page 151
         Three-page document entitled: True The Vote Launches
   3     "Validate the Vote" Initiative and Whistleblower Fund
         to Ensure Election Validity, Process Integrity, dated
   4     November 6, 2020 (no Bates Nos.)
   5
   6        Exhibit K .................................Page 152
         Single-page document bearing heading: Derek
   7     Somerville, dated November 15, 2020 (no Bates No.)
   8
   9
 10                        (All exhibits were provided
 11                   electronically to the reporter.)
 12
 13
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                                                                                 Page 7
   1                                   *         *          *

   2                             P R O C E E D I N G

   3                       Wednesday, October 6, 2021

   4                               Remote Deposition

   5                    9:17 a.m. Eastern Daylight Time

   6                                 *          *         *

   7                       THE VIDEOGRAPHER:                We are now on the

   8        record.      This is tape No. 1 of the videotape

   9        deposition of Derek Somerville, in the matter of

 10         Fair Fight, Inc., et al., plaintiffs v. True The

 11         Vote, et al., defendants, and Fair Fight Action,

 12         Inc., counter-defendant, in the United States

 13         District Court for the Northern District of

 14         Georgia, Gainesville Division, Case No.

 15         2:20-CV-00302-SCJ.

 16                        This deposition is being held remotely

 17         by Zoom conferencing.                Video recording is in

 18         Olympia, Washington, on October 6, 2021.

 19                        The time on the video screen is 9:17

 20         Eastern Time.

 21                        My name is Alicia Holmstock.                    I am the

 22         legal videographer from Digital Evidence Group.



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                                                                                Page 8
   1        The court reporter is Brad Rainoff, in

   2        association with Digital Evidence Group.

   3                       All parties to this deposition are

   4        appearing remotely and have agreed to the

   5        witness being sworn in remotely unless an

   6        objection is stated to this agreement.

   7                       Due to the nature of remote reporting,

   8        please pause briefly before speaking to ensure

   9        all parties are heard completely.

 10                        Will counsel please introduce

 11         themselves and who they represent for the

 12         record?

 13                        MS. FORD:          My name is Christina Ford.

 14         I represent the plaintiffs, and I'm here from

 15         Elias Law Group.

 16                        MS. KRAMER:           Courtney Kramer with Bopp

 17         Law firm representing the defendants.

 18                        MS. McCLAFERTY:              This is Michelle

 19         McClafferty with Lawrence Bundy, also on behalf

 20         of plaintiffs.

 21                        MR. RAMIREZ:            This is Joel Ramirez

 22         with the Elias Law Group on behalf of



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                                                                                Page 9
   1        plaintiffs.

   2                       THE VIDEOGRAPHER:               Will the court

   3        reporter please swear in the witness?

   4     DEREK SOMERVILLE,

   5                        having been duly sworn, was examined and

   6                        testified as follows:

   7     EXAMINATION

   8     BY MS. FORD:

   9              Q.       Good morning, Mr. Somerville.                   Thank

 10         you for being here today.                   My name is Christina,

 11         Christina Ford, and I represent the plaintiffs

 12         in this case.

 13                        Will you please state your home

 14         address for the record?

 15               A.       5130 Saddlebred Lane, Cumming,

 16         Georgia, 30028.

 17               Q.       Right.

 18                        And where are you located today?

 19               A.       I'm located in Roswell, Georgia.

 20               Q.       Okay.

 21                        Just generally, what location are you

 22         in today?



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                                                                              Page 10
   1                       Is it a law firm?

   2              A.       I'm in the offices of my counsel at

   3        821 Atlanta, Roswell, Georgia.

   4              Q.       Thank you.

   5                       Mr. Somerville, I just want to go over

   6        a couple ground rules for this deposition,

   7        particularly because we are appearing remotely,

   8        so that we all have the same understanding.

   9                       If at any point you do not understand

 10         a question I'm asking, will you please let me

 11         know?      And then I will do my best to rephrase or

 12         clarify the question.

 13                        Does that sound good?

 14               A.       It does.

 15               Q.       At any time you would like to take a

 16         break, please let me know.                    I'll try to find a

 17         good stopping point.

 18                        The only thing I would ask is if we

 19         are in the middle of a line of questioning, that

 20         we resolve that line before taking a break.

 21                        Will you let me know if you need or

 22         want a break?



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                                                                              Page 11
   1              A.       Understood.

   2              Q.       Today as you know, the court reporter

   3        is recording the questions and answers.                        But the

   4        reporter can only take down verbal answers, so

   5        please answer with an audible "yes" or "no."

   6                       Does that sound good?

   7              A.       Yes.

   8              Q.       Great.

   9                       Finally, as the court reporter

 10         mentioned, please wait until I finish asking my

 11         question before you begin answering; and I will

 12         do my very best to let you finish so that we are

 13         not talking over each other.

 14                        Does that sound good?

 15               A.       Yes.

 16                        MS. KRAMER:           Counsel, I hate to

 17         interrupt, but do we mind taking the exhibit

 18         screen off until we need them? -- until we use

 19         them?

 20                        MS. FORD:          That's fine with me.

 21                        MS. KRAMER:           Okay.        Perfect.

 22                        MS. FORD:          Okay.       Great.



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                                                                              Page 12
   1     BY MS. FORD:

   2              Q.       Mr. Somerville, you said you are

   3        viewing this deposition by laptop today?

   4              A.       Yes.

   5              Q.       Do you have any documents with you in

   6        the room? -- either hard copies or electronic?

   7              A.       I do not.

   8              Q.       Is anyone else in the room with you

   9        other than Ms. Kramer?

 10               A.       There is not.

 11               Q.       Just because I am obviously not

 12         present with you today, I cannot tell what you

 13         have in front of you or if anyone else enters

 14         the room.

 15                        Do you agree do let me know if anyone

 16         else enters today?

 17               A.       Yes.

 18               Q.       Okay.       Great.

 19                        Do you agree to let me know if you put

 20         any other -- any documents in front of you? --

 21         either hard copy or electronic?

 22               A.       Yes.



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                                                                              Page 13
   1              Q.       All right.           Two last points here.

   2                       Do you understand it would not be

   3        appropriate for your attorney or anyone else to

   4        tell you how to answer a particular question

   5        that I ask today?

   6              A.       Yes.

   7              Q.       Do you agree that while you are

   8        testifying today, you will not exchange

   9        communications -- whether in-person or

 10         electronic -- about how to answer questions

 11         asked?

 12               A.       Yes.

 13               Q.       Great.

 14                        MS. FORD:          Could we please put up

 15         Exhibit A and mark it as Exhibit A?

 16                        (Exhibit A, Four-page document

 17         entitled: Plaintiffs Notice to Take the

 18         Deposition of Defendant Derek Somerville, dated

 19         September 23, 2021 (no Bates Nos.), marked for

 20         identification)

 21                        (Pause)

 22



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                                                                              Page 14
   1     BY MS. FORD:

   2              Q.       Mr. Somerville, this is just the

   3        notice of deposition for today's deposition.

   4                       Do you recognize this document?

   5              A.       Yes.

   6              Q.       Great.

   7                       Are you prepared to testify today?

   8              A.       Yes.

   9                       MS. FORD:          We can take this down.

 10      BY MS. FORD:

 11               Q.       Mr. Somerville, just some brief

 12         background about yourself.

 13                        Where do you live in Georgia?

 14               A.       At the address I provided earlier,

 15         5130 Saddlebred Lane.

 16               Q.       What county is that in?

 17               A.       Fulton County.

 18               Q.       Okay.

 19                        How long have you lived there?

 20               A.       Roughly nine years.

 21               Q.       Before that, did you also live in

 22         Georgia?



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                                                                              Page 15
   1              A.       Yes.

   2              Q.       Could you please describe your

   3        educational background in general terms?

   4              A.       I have a Bachelor's degree.

   5              Q.       What is the Bachelor's degree in?

   6              A.       Political science.

   7              Q.       What do you do for a living?

   8              A.       I'm the CEO of an energy and utility

   9        consulting firm.

 10               Q.       What generally do you do in that role?

 11               A.       Generally speaking, it's the strategic

 12         leadership of my organization.

 13               Q.       Can you speak a little bit more about

 14         what your organization does?

 15               A.       We provide consulting services to the

 16         energy and utility industry, specifically with

 17         the technology that is used in that industry.

 18         And that occurs across a number of functions

 19         within a utility company.

 20                        So broadly speaking, we are a

 21         technology firm that specializes in energy and

 22         utility clients.



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                                                                              Page 16
   1              Q.       Have you ever worked in election

   2        administration?

   3              A.       No.

   4              Q.       How did you first come to learn about

   5        True The Vote, the organization?

   6              A.       I was unfamiliar with True The Vote

   7        leading up to this past election.

   8                       And I don't recall the first time that

   9        I learned about them.                I don't recall the first

 10         time that I learned about them, but I was

 11         unfamiliar with them up until -- until this

 12         election.

 13               Q.       Okay.

 14                        And by "this election" -- just to

 15         clarify -- you mean the 2020 general election --

 16               A.       Correct.

 17               Q.       -- or the -- okay.

 18                        What was your impression of the

 19         organization when you learned about them?

 20               A.       I don't recall forming an impression

 21         of them as the -- I don't recall forming an

 22         impression about them.



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                                                                              Page 17
   1                       There was an awful lot of activity at

   2        that time and my learning of them was pretty

   3        unremarkable.

   4              Q.       So before, say, October, November,

   5        2020, you hadn't spoken with anyone affiliated

   6        with True The Vote, at least to your knowledge?

   7              A.       Not to my knowledge.

   8              Q.       Okay.

   9                       How were you first connected then to

 10         True The Vote around this time, around the

 11         general election?

 12               A.       My recollection is I was introduced to

 13         them by Ron Johnson.

 14               Q.       Who is Ron Johnson?

 15               A.       Ron Johnson is a friend of mine from

 16         north Georgia, and involved in the general

 17         political arena in north Georgia.

 18               Q.       Why did he make that connection?

 19               A.       I can't speak to Ron's motivations.                     I

 20         believe that he was simply making the

 21         introduction because -- I honestly don't know

 22         why Ron made the introduction.



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                                                                              Page 18
   1              Q.       Okay.

   2                       Well, when you were connected with

   3        True The Vote, who did you speak with?

   4              A.       I first spoke with Catherine

   5        Engelbrecht -- I believe is how you pronounce

   6        it.

   7              Q.       And what did you discuss that first

   8        time?

   9              A.       Catherine -- and forgive me, I'm

 10         trying to recall it.                Again, these were pretty

 11         unremarkable exchanges.

 12                        But Catherine advised that they were

 13         involved in election integrity work in the

 14         state, and we had conversations regarding --

 15         vaguely regarding the same.

 16               Q.       Okay.

 17                        Around -- when was this?

 18               A.       I'm not very good with dates.                   I know

 19         I provided this in my response to

 20         interrogatories.            And those would be accurate --

 21               Q.       Okay.       Well, I can go off those, if

 22         that's helpful.



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                                                                                Page 19
   1              A.       Yeah, they would be accurate.                   I

   2        apologize.        I just -- again, these were very

   3        brief encounters, you know, almost a year ago.

   4              Q.       Sure.

   5                       So you mentioned you attended a dinner

   6        with Catherine Engelbrecht and Gregg Phillips on

   7        December 15.

   8                       Was that the first time you had met

   9        either of them?

 10               A.       Yes.

 11               Q.       Where was that dinner?

 12               A.       It was in -- again, forgive me.

 13                        It was at a restaurant closer in to

 14         downtown.        I live about 45 minutes north of

 15         Atlanta, so I'm not terribly familiar with the

 16         restaurants down there, so I don't recall the

 17         name.      And frankly, I don't remember the exact

 18         location --

 19               Q.       Okay --

 20               A.       -- it was closer to the Atlanta area.

 21               Q.       Was anyone else in attendance at that

 22         dinner?



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                                                                              Page 20
   1              A.       No, ma'am.

   2              Q.       So just you, Catherine, and Gregg?

   3              A.       Myself, Catherine, and Gregg.

   4              Q.       What was the purpose of that dinner?

   5              A.       That wasn't immediately evident to me.

   6                       They invited me and I thought that was

   7        polite.      I assumed the reason they invited me is

   8        I have some level of involvement in local

   9        politics in north Georgia.                    And based on the

 10         evening, my assumption is that they were trying

 11         to get a better understanding of the political

 12         environment in Georgia, of which I have

 13         opinions.

 14               Q.       Okay.

 15                        Did you discuss anything other than

 16         the general political environment?

 17               A.       Not with any measure of specificity.

 18                        I was aware, of course, that they had

 19         concerns about the election, but it was very

 20         much a cordial first meeting.

 21                        Bear in mind I had never spoken with

 22         these people, other than the conversations that



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                                                                                   Page 21
   1        led to the invite for dinner.                      I had very

   2        limited knowledge whatsoever of who they are,

   3        what they do, where they did it.                         So it was very

   4        much a introductory, almost like a business

   5        meeting.

   6              Q.       Okay, you said they mentioned they had

   7        concerns about the election.

   8                       Can you elaborate on that?

   9              A.       Not with a terrible degree of

 10         specificity.

 11                        There was an awful lot of chatter at

 12         that time about the election.                      And there was an

 13         awful lot of people expressing concerns,

 14         certainly inside of the ecosystem that I live

 15         in.

 16                        So I don't recall anything unique

 17         about what they were sharing with me.                          So

 18         forgive me.         It all blends together.

 19               Q.       Sure.

 20                        Well, let me ask a more specific

 21         question, then.

 22                        Were the concerns generally either



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                                                                              Page 22
   1        that the election results in Georgia maybe were

   2        not accurate?

   3              A.       I believe that would be the general

   4        tone.

   5              Q.       Or that some sort of fraud had

   6        potentially occurred in the election?

   7              A.       I don't recall a discussion of fraud.

   8                       I do recall the discussion of

   9        irregularity.

 10               Q.       Okay.       Thank you.

 11                        At that dinner, did you or anyone, I

 12         would say, at the dinner discuss any plans to

 13         file elector challenges in Georgia?

 14               A.       I do recall discussion around

 15         electoral challenges at that dinner.

 16               Q.       What specifically did you discuss?

 17               A.       I believe that was largely just it --

 18         the subject line.

 19                        My recollection is that they had

 20         intended to file some measure of challenges, but

 21         the detail behind that, I don't have a

 22         recollection of.



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                                                                              Page 23
   1                       I do recall at the time that it was

   2        largely a significant effort.

   3                       But, again, I had not met them up

   4        until that point, so I didn't have a terrible

   5        amount of understanding, frankly, of who exactly

   6        they were.        I just knew they were out of state.

   7              Q.       You mentioned they were out of the

   8        state.

   9                       So were they seeking clarity from you

 10         on how to file challenges?

 11               A.       No.

 12               Q.       So they were seeking from you maybe

 13         more information about the general political

 14         environment that you mentioned?

 15               A.       I suspected as much.

 16                        And then in certain parts of the

 17         state, I have some name recognition, so it's not

 18         unusual for people to reach out to me and ask to

 19         align with me in order to leverage some level of

 20         that name recognition.

 21               Q.       Okay.

 22                        Well, whether at that dinner or after



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                                                                              Page 24
   1        that dinner, did you talk in more detail with

   2        True The Vote about their plan to challenge

   3        voters in Georgia?

   4              A.       In a limited capacity, yes.

   5              Q.       What is your best understanding of

   6        what their general plan was?

   7              A.       So I have no recollection of an actual

   8        plan, other than I recall the scale of it was

   9        large.

 10               Q.       What do you mean by "the scale was

 11         large"?

 12               A.       As I recall, the number of challenges

 13         that they had intended to issue was large.

 14                        Again, per my responses in the

 15         interrogatories, I have never had any visibility

 16         into how they compiled what they compiled, why

 17         they compiled, the actual numbers, or strategy.

 18                        I just recall leaving that discussion

 19         and either that evening or subsequently -- I

 20         don't recall if it was that evening or

 21         subsequent to that -- of the impression that it

 22         was a very large effort they were undertaking.



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                                                                              Page 25
   1              Q.       Okay.

   2                       Did the size of the scale surprise

   3        you?

   4              A.       Not within the context of the

   5        population.

   6                       And by that, I mean with seven-plus

   7        million individuals in our voter rolls, it

   8        doesn't take a very significant degree of error

   9        to accumulate a large number.

 10                        So I don't -- I don't believe I was

 11         surprised.

 12                        I just believe the impression that I

 13         had was:       That's a large number.

 14               Q.       Okay.

 15                        So it appeared to you to be a large

 16         undertaking to accomplish.

 17                        Is that fair to say?

 18               A.       That's my recollection.

 19               Q.       Okay.

 20                        Did you convey that general impression

 21         to True The Vote?

 22               A.       I don't recall.



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                                                                              Page 26
   1              Q.       What is your best understanding of

   2        what True The Vote's goal was in filing these

   3        challenges?

   4              A.       My understanding -- which is somewhat

   5        limited, as I was, as I have shared, very much

   6        outside of the effort -- is that they were

   7        seeking to highlight individuals who may have

   8        been ineligible as a consequence of -- of a

   9        move.

 10               Q.       What do you mean by "highlight"?

 11               A.       My understanding is they were bringing

 12         attention to the fact that there were

 13         individuals within our voter rolls, whether or

 14         not they voted -- I have no idea what their

 15         criteria was for highlighting or drawing

 16         attention to those individuals -- that may not

 17         have resided in the county in which they were

 18         registered -- to vote.                 I'm sorry.

 19                        (Pause)

 20               Q.       When you heard about this general

 21         plan, did you think that the challenges were a

 22         good idea?



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                                                                              Page 27
   1              A.       I don't believe I arrived at a good or

   2        bad idea.

   3                       I did feel it was reasonable to try to

   4        understand whether or not individuals

   5        participated in the election that were

   6        ineligible, whether or not they were aware of it

   7        or not, given the unique consequences that

   8        surrounded the election.

   9                       Whether it was a good or bad idea, I

 10         don't -- I don't recall making such a judgment.

 11               Q.       Did you ever make a general judgment

 12         about whether it was reasonable to file

 13         challenges against, say, 300,000 or 400,000

 14         people?

 15               A.       I don't believe I made any statements

 16         to that effect to anybody.

 17               Q.       Whether or not you made any

 18         statements, have you arrived at a judgment now?

 19               A.       My -- my personal perspective is that

 20         that was a very broad effort.

 21                        I tend to deal in detail, and that was

 22         a very broad -- broad, sweeping effort, in my



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                                                                              Page 28
   1        estimation.

   2                       But, again, I'm not -- I don't know

   3        what their motives were, and I don't know how

   4        they arrived at those numbers.

   5                       It just felt to me like a very large

   6        number.

   7              Q.       Okay.

   8                       And when you say "very broad," from

   9        your perspective, does that introduce the

 10         possibility of error?

 11               A.       I don't think that specifically

 12         introduces the possibility of error.

 13                        I think the -- the sheer effort -- an

 14         effort involving numbers of that magnitude, and

 15         that what I would consider the mobility behind

 16         those numbers -- meaning people do move, there

 17         is a lot of variables at play -- I think it's an

 18         imperfect science.

 19                        But I do think it's one that is

 20         accurate enough to be pursued.

 21                        And I think --

 22               Q.       And --



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                                                                                Page 29
   1              A.       -- and to -- to -- I'm sorry.                   I

   2        didn't meaning to speak over you.

   3                       And I think it can be pursued with a

   4        relative degree of accuracy.

   5              Q.       Were you asked to help with True The

   6        Vote's challenges in any way?

   7              A.       I was not.

   8              Q.       Did you volunteer to help in any way?

   9              A.       I did not.

 10               Q.       You mentioned that you participated in

 11         a call on December 16 with Mark Davis and Gregg

 12         Phillips.

 13                        Is that correct?

 14               A.       Yes.

 15               Q.       Who proposed having that call?

 16               A.       I don't recall.

 17               Q.       What was the general purpose of the

 18         call?

 19               A.       An introduction between Mark and

 20         Gregg.

 21               Q.       Is it your understanding that was the

 22         first time Mark and Gregg had met?



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                                                                              Page 30
   1              A.       Yes.

   2              Q.       And you were facilitating that

   3        introduction?

   4              A.       Yes.

   5              Q.       So the title of that meeting was:

   6        Elector challenge alignment.

   7                       Can you help me understand what was

   8        meant by "alignment"?

   9              A.       My understanding -- my recollection is

 10         that, in my understanding -- because I have

 11         not -- I have no way of validating this -- that

 12         Mark Davis has been involved in voter data for

 13         quite some time, potentially decades.

 14                        It was also my understanding that

 15         Gregg -- and forgive me, I don't recall his last

 16         name -- that Gregg also had a passion for data.

 17                        And so my understanding in that call

 18         was to bring those two together -- excuse me --

 19         so that they could discuss the nuances of the

 20         data in our Georgia election files.

 21               Q.       Okay. I just want to drill down that,

 22         and make sure I understand here.



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                                                                               Page 31
   1                       So did "alignment" then mean alignment

   2        of methodology? --

   3              A.       No.

   4              Q.       -- in compiling a list?

   5              A.       No.

   6              Q.       No?     Okay.

   7                       Did it mean alignment of the voters

   8        who would appear on the list?

   9              A.       No.

 10               Q.       Did it mean alignment of the timing of

 11         challenges?

 12               A.       No.

 13               Q.       Can you help me understand, then, more

 14         of what you mean?

 15               A.       It meant the alignment of the data

 16         definitions and general election data universe

 17         in Georgia.

 18                        So to give a little more definition

 19         there, large datasets are unique.                         And one data

 20         field in one dataset in one state doesn't

 21         necessarily mean the same thing as it means in

 22         another state.



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                                                                              Page 32
   1                       So part of it was to bring the two

   2        together so that they could have a technical

   3        discussion between the two of them about data,

   4        which is not my forte.

   5                       And the other was just me trying to

   6        make introductions in two people that seemed to

   7        be professionals in a similar space.

   8              Q.       Okay.

   9                       I mean, at the time of this call, it

 10         seems that True The Vote was already

 11         contemplating doing their challenge effort, as

 12         you mentioned.

 13                        Were you and Mark separately

 14         considering a challenge effort?

 15               A.       Mark and I were separately

 16         investigating a similar -- similar matter --

 17         right? -- similar scope in terms of the --

 18         whether or not people had cast votes that were

 19         ineligible.

 20                        But -- so you might want to restate

 21         your question.

 22                        But, yes, Mark and I were absolutely



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                                                                              Page 33
   1        investigating the data at that time independent

   2        of True The Vote, independent of True The Vote's

   3        data, independent of their people, their

   4        resources -- completely independent of them.

   5              Q.       Sure.

   6                       You say you were investigating.

   7                       At the time of this call, though, were

   8        you both already contemplating that you might

   9        file challenges?

 10                        Or help file challenges?

 11               A.       We were considering our options, yes.

 12               Q.       Okay.

 13                        And did you share that with True The

 14         Vote?

 15                        Was that apparent to either True The

 16         Vote or Gregg Phillips by the time of that call?

 17               A.       I don't recall.

 18               Q.       At any point in time, did you share

 19         with True The Vote that you and Mark were

 20         contemplating doing your own challenges?

 21               A.       I don't recall the specifics of doing

 22         so, but it's reasonable to assume that we would



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                                                                              Page 34
   1        have discussed that.

   2              Q.       Was anyone else on that call other

   3        than you, Mark, and Gregg?

   4              A.       No, ma'am.

   5              Q.       Were any particular decisions made on

   6        that call?

   7              A.       None at all.            It was an introductory

   8        discussion between two people that had never

   9        met, and myself who had met Gregg the night

 10         before.

 11               Q.       So how did that call end?

 12               A.       I don't recall any after action or

 13         follow-up that resulted from that call.

 14                        My recollection is it was a nice

 15         introduction; and two individuals with technical

 16         backgrounds had a conversation that largely rose

 17         beyond me.

 18                        MS. FORD:          Switching to a different

 19         topic, can we please pull up Exhibit B and Mark

 20         it as Exhibit B?

 21

 22



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                                                                              Page 35
   1                       (Exhibit B, Document Bates stamped

   2        Def. Somerville 0004, single-page SMS message

   3        From: Catherine Englebrecht, To: Derek

   4        Somerville, Date: December 17, 2020, marked for

   5        identification)

   6                       (Pause)

   7     BY MS. FORD:

   8              Q.       Mr. Somerville, are you able to read

   9        this?

 10               A.       Yes.

 11               Q.       This appears to be a text from Ms.

 12         Engelbrecht to you on December 17 about a

 13         meeting that she had with the Georgia Secretary

 14         of State office.

 15                        Do you recognize this?

 16               A.       I do.

 17               Q.       And prior to receiving this text, had

 18         you discussed with Ms. Engelbrecht either she or

 19         True The Vote in general meeting with the

 20         Georgia Secretary of State's office?

 21               A.       I do recall some conversation about

 22         that.



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                                                                                  Page 36
   1              Q.       Okay.

   2                       Would that have maybe occurred at that

   3        dinner?

   4              A.       I don't recall.

   5              Q.       What is your understanding of what the

   6        purpose of that meeting was?

   7              A.       I don't recall that either.                     I

   8        don't -- I don't recall what the purpose of that

   9        meeting would have been.                   I don't believe that I

 10         was ever -- it was ever shared with me what the

 11         purpose of that meeting was.

 12               Q.       Well, when you got this text, did you

 13         understand what Ms. Engelbrecht was referring

 14         to?

 15               A.       Well, I think it was -- so I

 16         understood that they had intended to meet with

 17         the Secretary of State.

 18                        But I don't recall how that fit into

 19         what their plans were, because I didn't

 20         understand their plans at the time.

 21                        So I'm not entirely certain -- I think

 22         she was keeping me aware of what they were doing



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                                                                              Page 37
   1        in the state, but I don't recall -- I don't know

   2        the Secretary of State, and so I don't know -- I

   3        really don't recall why I was kept in the loop

   4        on that.

   5              Q.       So when Catherine writes here she "got

   6        some guidance that is changing our process a

   7        bit," what did you understand that to be a

   8        reference to?

   9              A.       I don't -- I understood it to be a

 10         reference to their efforts in the state, but I

 11         don't know specifically what she was referring

 12         to.

 13               Q.       Do you know what the guidance was that

 14         she received from the Georgia Secretary of State

 15         office?

 16               A.       I do not.

 17                        (Pause)

 18               Q.       And here Ms. Engelbrecht also

 19         mentions:        The plan now is to send the release

 20         probably late today along with the digital

 21         files.

 22                        This release -- is that a press



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                                                                              Page 38
   1        release to the public that she is referencing

   2        here?

   3              A.       I would assume that's what that means,

   4        but I don't -- I don't know the general context

   5        of that -- that statement.

   6                       But there was a press release drafted,

   7        and that may be what she is referring to.

   8              Q.       Okay.

   9                       Do you know what the digital files are

 10         that she is referring to?

 11                        Is that a challenge list?

 12                        Or something else?

 13               A.       I do not know.

 14               Q.       Then finally, Ms. Engelbrecht

 15         mentions:        As soon as I get to a stopping point,

 16         I'll send you a release for your review.

 17                        Is that the a same press release you

 18         just mentioned you thought it might be?

 19               A.       Yeah -- within that context, that

 20         would be the press release.

 21               Q.       Why was she sending it to you?

 22               A.       Because she intended to include myself



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                                                                                  Page 39
   1        and Mark's names in it.

   2              Q.       Okay.

   3                       And did she send that to you?

   4              A.       I believe she did.

   5              Q.       Okay.

   6                       Did you --

   7              A.       -- she did.           I'm sorry.           Yes, I

   8        recall.      So she did, yes.

   9              Q.       Okay.

 10                        Did you review it?

 11               A.       I did.

 12               Q.       Did you propose any changes to the

 13         release?

 14               A.       I did.

 15               Q.       What were those changes?

 16               A.       To my recollection -- is I encouraged

 17         them to include Mark.

 18                        But beyond that -- and I don't recall

 19         the other details other than how we were

 20         characterized.

 21                        But I don't -- again, this was a long

 22         time ago, so I don't recall the specifics of



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                                                                              Page 40
   1        what I asked of her.

   2              Q.       Then you would have sent it back to

   3        her?

   4              A.       Yes.

   5              Q.       Did she respond to that at all?

   6              A.       I don't recall.

   7              Q.       Okay.

   8                       MS. FORD:          We can take this down.

   9                       Thank you.

 10      BY MS. FORD:

 11               Q.       Mr. Somerville, so what is your best

 12         understanding of what was involved in developing

 13         the challenge list that True The Vote submitted?

 14               A.       I was never consulted on the

 15         development of the list, so I have no

 16         understanding of how it was developed, who

 17         participated in it, or any other degree of that

 18         list at all.         I have no knowledge of it.

 19               Q.       Okay.

 20                        MS. FORD:          Can we pull up Exhibit D,

 21         please, and Mark it with Exhibit D?

 22



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                                                                              Page 41
   1                       (Exhibit D, Multipage document bearing

   2        heading on first page: Derek Somerville (no

   3        Bates Nos.), marked for identification)

   4                       (Pause)

   5     BY MS. FORD:

   6              Q.       Mr. Somerville, do you maintain a

   7        Facebook account?

   8              A.       I do.

   9              Q.       Is this your account?

 10               A.       It appears so.

 11               Q.       The Mark Davis that is tagged in this

 12         post right here -- is that the same Mark Davis

 13         that is your co-defendant in this case?

 14               A.       Yes.

 15                        MS. FORD:          Can we scroll to page 2,

 16         please?

 17      BY MS. FORD:

 18               Q.       So here on December 19, you shared an

 19         article titled:            True The Vote Partners with

 20         Georgians to Challenge Allegedly Ineligible

 21         Voters.

 22                        Then you wrote in a comment to Sam



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                                                                              Page 42
   1        Thomas:      I did not have visibility into the

   2        details of True The Vote's challenge, only

   3        collaborated on methodology.

   4                       Did you write this?

   5              A.       I believe I did.

   6              Q.       What do you mean by -- when you said

   7        you "collaborated on methodology"?

   8              A.       I don't recall.

   9                       The only collaboration that took place

 10         is, again, the discussions that we had on data

 11         definitions, or the general political arena.

 12                        So I don't -- I don't believe there is

 13         a lot behind the term "methodology" in that

 14         response.

 15               Q.       Mr. Somerville, can you just help me

 16         explain why you would say you collaborated on

 17         methodology if today you are saying you didn't?

 18               A.       Well, I think the methodology is the

 19         data definitions that I just shared, and then

 20         the general political arena inside the state of

 21         Georgia.

 22                        Beyond that, there was absolutely no



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                                                                              Page 43
   1        collaboration on their list, on how it was

   2        compiled, on whether it was quality assured,

   3        their numbers, how they delivered it, where they

   4        delivered it.          There was no collaboration

   5        whatsoever on any of that.

   6              Q.       Okay.

   7                       Then just to go back to when you said

   8        you shared information on general political

   9        environment, what do you mean by that?

 10               A.       As any general political discussion

 11         would be, the state of our political

 12         environment.

 13                        It was a very -- there is a lot of

 14         activity going on at that time.                        There was a lot

 15         of passion around the election on all sides and

 16         on countless topics.                It was a very complex

 17         time.

 18                        So it was just a simple discussion of,

 19         "Well, this is Georgia, and here is what I

 20         believe is going on in Georgia" -- the kind of

 21         conversation you would have with anybody that is

 22         unfamiliar with your state and wants to talk



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                                                                              Page 44
   1        about your state.

   2              Q.       Did they say that to you? -- that they

   3        were unfamiliar with Georgia?

   4                       Or was that just your impression?

   5              A.       I don't remember their specific words.

   6              Q.       All right.

   7                       So sitting here today, you are not

   8        able to tell me anything more about True The

   9        Vote's methodology in creating the list?

 10               A.       No.

 11                        As I said before, they're -- literally

 12         had no visibility into, knowledge of,

 13         participation with any -- any stage of their

 14         compiling their list, or what they did with it

 15         afterwards.

 16               Q.       Okay.

 17                        MS. FORD:          We can take this down.

 18         Thank you.

 19      BY MS. FORD:

 20               Q.       So, then, separately from True The

 21         Vote, you testified that you and Mark Davis at

 22         least investigated and at least considered a



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                                                                              Page 45
   1        separate set of elector challenges in advance of

   2        the runoff election.

   3                       Did you decide to move forward on

   4        that?

   5              A.       We did.

   6              Q.       When did you decide to do that?

   7              A.       I don't recall.              Mark and I --

   8              Q.       Was it -- sorry.               Please answer.

   9              A.       Mark and I were looking at the impact

 10         of address change on the database well before

 11         True The Vote showed up in the state.

 12               Q.       Did you decide to move forward around

 13         this same time when you were meeting with True

 14         The Vote in -- in mid-December?

 15               A.       I don't recall a firm decision to move

 16         forward, as you state it.

 17               Q.       Okay.

 18               A.       At the time, Mark and I were looking

 19         at the data and trying to see what the data was

 20         telling us.

 21                        That -- that was the extent of the

 22         effort.



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                                                                              Page 46
   1              Q.       Okay.

   2                       What was the data telling you?

   3              A.       That due to a confluence of issues --

   4        largely related to the pandemic, and a very

   5        large turnout in absentee voting, and a very --

   6        and 6.9 million mailers sent by the Secretary of

   7        State's office -- that it was highly probable

   8        that individuals voted in counties where they no

   9        longer resided -- is what the data suggested --

 10               Q.       Okay.

 11               A.       -- which I believe is not terribly

 12         atypical in an election.

 13               Q.       What were you hoping the challenges

 14         would accomplish?

 15                        And here I mean your own, not True The

 16         Vote's.

 17               A.       Well, the effort in any such effort is

 18         always about the integrity of the process.

 19                        So without any regard to political

 20         affiliation, geography, any -- any metric on the

 21         individual, the fundamental question is:                       Was

 22         there a flaw in the process that was exacerbated



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                                                                              Page 47
   1        by circumstances surrounding the election?                        And

   2        did that, in turn, result in a number of votes

   3        that may have been ineligible? -- regardless of

   4        who cast them, regardless of where they were

   5        cast, or regardless by whom.

   6                       There was no visibility on any of that

   7        data.

   8                       It's just simply whether or not the

   9        address on record with the Secretary of State

 10         was inconsistent with the -- an address that the

 11         individual may have been -- suggested they moved

 12         to.

 13                        That was -- the only hope was to

 14         identify whether or not there was a data

 15         integrity issue.

 16               Q.       Okay.

 17                        What did you hope that counties would

 18         do with the challenges?

 19               A.       Well, I would hope any challenge would

 20         be received on its merit for the law, and would

 21         be considered as it should be; that -- again, to

 22         stress this -- there is no hope for an outcome.



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                                                                              Page 48
   1                       The hope is that a process is

   2        followed, by which we can help ensure the

   3        integrity of the process.                   It's about the data,

   4        not the outcome.

   5              Q.       Sure.

   6                       Well, I'm sure -- or I assume -- that

   7        you hoped something would happen when the

   8        challenges were filed.

   9                       And I'm trying to understand what --

 10         regardless of outcome, what did you hope or

 11         expect would happen when the challenges were

 12         filed with each county?

 13               A.       Well, I'm not aware of what was

 14         necessarily filed all throughout the state.

 15                        But, again, I guess my hope would be

 16         that, if there was probable cause to believe

 17         that a vote may have been cast in an ineligible

 18         fashion -- which may very well happen

 19         unbeknownst to the person who cast that vote --

 20         that that would be looked into by the local

 21         boards and remedied accordingly.

 22                        There is no consideration for how that



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                                                                              Page 49
   1        impacts the results of an election, or if it

   2        would, for that matter.

   3                       It's a simple function of the state

   4        law reads as it reads.                 And it's incumbent upon

   5        citizens to play an active role and ensure those

   6        laws are upheld.

   7                       That's the motive.

   8              Q.       Okay.

   9                       When you say you hoped the counties

 10         would look into it, can you walk me through what

 11         you mean by that?

 12               A.       Well, I hope that's self-evident.

 13                        The boards of elections are

 14         responsible for upholding the statutory process

 15         for our elections.              And the hope is that all 159

 16         counties in the state would do precisely that.

 17                        We have a law on our books that

 18         permits a challenge of a voter's eligibility

 19         based on very defined criteria, as I understand

 20         it.    And individuals should exercise their

 21         rights under the law.

 22                        That's the extent of the hope.                  There



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                                                                               Page 50
   1        is -- it wasn't an outcome-driven effort.

   2              Q.       So Mr. Somerville, let me make plain

   3        what I'm trying to get at.                    Maybe that will help

   4        us.

   5                       You know, these challenges are being

   6        filed approximately two weeks before the runoff

   7        election.

   8                       What I'm asking you is:                    In about two

   9        weeks with Christmas and New Year's, what did

 10         you logistically expect would happen in those

 11         two weeks, or be able to be accomplished in

 12         those two weeks before the runoff to verify

 13         residency?

 14               A.       I understand your question.

 15                        I had no expectation.

 16                        Efforts such as these are based upon

 17         the law and the merit of what you are proposing.

 18                        I have no idea why the government does

 19         what the government does, the timeline it does

 20         it under, how it would receive, if it would

 21         receive.

 22                        And again, I understand your question.



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                                                                                  Page 51
   1                       But I don't believe I had any

   2        expectation of anything.

   3                       I was simply trying to, like many

   4        people, to understand whether or not there were

   5        anomalies within the election that had occurred.

   6              Q.       Okay.

   7                       Just so that I understand, when you

   8        say you had no expectation, do you mean you

   9        had -- you did not expect the counties to

 10         investigate the challenge?

 11                        Or do you mean --

 12               A.       Well --

 13               Q.       -- sorry.

 14                        Please explain what you mean.

 15               A.       I didn't mean to interrupt.                     I'm

 16         sorry.

 17                        Do --

 18               Q.       I just don't want to -- I don't want

 19         to put words in your mouth.

 20                        So -- here is, I think, the two

 21         different ways I could interpret that.

 22                        Are you saying you had no -- no



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                                                                              Page 52
   1        expectation the counties would investigate?

   2                       Or are you saying you hoped they would

   3        investigate, but you did not know how they would

   4        go about doing that?

   5              A.       I'm not saying either.

   6              Q.       Okay.

   7              A.       I'm saying I have been in the state

   8        long enough to acknowledge that I have no idea

   9        why our government does what it does, and when

 10         it does.

 11                        I only know that I have an

 12         understanding of what our rights are, and I

 13         encourage people to exercise those rights.

 14                        The consequences of those rights --

 15         meaning whether or not they are responded to,

 16         acted upon by the government -- that's a

 17         calculus that, so far, has eluded me.

 18               Q.       Is it fair to say, though, given that

 19         you went through the effort to put these lists

 20         together, that you hoped something would be done

 21         with them?

 22               A.       It's fair to say that we believe we



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                                                                              Page 53
   1        highlighted a number of individuals that no

   2        longer resided where they were casting votes.

   3                       It's fair to say that our expectation

   4        would have been that the election officials

   5        would have reviewed those.

   6                       But your question relies on the word

   7        "hope" and I don't know that I would

   8        characterize that as hope.

   9                       To me, it's a very practical matter of

 10         data that explains that an individual likely did

 11         not reside in the county where they cast a vote;

 12         and that, under certain circumstances, is not

 13         legal in our state.

 14                        But I don't think "hope" is the right

 15         word to characterize what we were doing.

 16                        In efforts like this, it's a function

 17         of following data, and only that.

 18                        If the data produced no anomalies that

 19         suggested that there were a number of these

 20         individuals, then that's what it would have

 21         produced.

 22                        It's a very unemotional -- and I know



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                                                                               Page 54
   1        that's difficult to get across during a time

   2        when people were very emotional.                         I'm not wired

   3        that way.

   4                       My interest was rising above all of

   5        the vitriol, all the noise, all the -- all of

   6        it, and to see if there was a practical issue

   7        that needed to be addressed within our state to

   8        the benefit of all citizens in our state.

   9              Q.       Okay.

 10                        At the time that you and Mark were

 11         working on putting these lists together, did you

 12         think that it was feasible that these -- all of

 13         these residency issues could be resolved before

 14         the runoff election?

 15                        (Pause)

 16               A.       I don't recall, because, again, it

 17         really wasn't ours to determine how this was

 18         going to be handled by the government.

 19                        I also don't believe that I had any

 20         expectation that that -- that was going to have

 21         a short-term impact.

 22                        I think the effort was really to



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                                                                              Page 55
   1        highlight a very real issue with the integrity

   2        of our voter file, not necessarily to effect an

   3        outcome in any short order, if that makes sense.

   4              Q.       I think so.

   5                       You mean you thought potentially

   6        long-term this would just highlight issues with

   7        the voter rolls.

   8                       Is that fair?

   9              A.       Yes.

 10                        To expand, I'm well aware there were

 11         people in our state and certainly throughout the

 12         country that wanted to see a different outcome

 13         in our election, and that wanted to participate

 14         in reversing the course of the results of the

 15         election.

 16                        That was not one of my motives at any

 17         point in time, ever.

 18                        For me, it was then, and continues to

 19         be, and will always be, around the integrity of

 20         the overall process, as it benefits everybody in

 21         our state.

 22                        I take a very practical approach to



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                                                                              Page 56
   1        literally everything that I do, and this was no

   2        exception.

   3                       There were procedural deficiencies

   4        that were highlighted largely as a consequence

   5        to the large number of absentee ballot requests

   6        that were sent out.               And we believed there were

   7        a number of people that inadvertently cast a

   8        ballot and may not have updated their address.

   9                       So this was much more about

 10         highlighting a procedural vulnerability than it

 11         was affecting an outcome that was consistent

 12         with much of what was being pressed around the

 13         media at that time -- if that gives you

 14         additional clarity.

 15               Q.       It does.         Thank you.

 16                        How did you think the voters on these

 17         lists would react?

 18               A.       Well, it wasn't evident to me that

 19         voters on these lists would ever be aware they

 20         were on the list.

 21                        So I don't suspect that there was a

 22         great -- I don't -- plus, I think that, as I



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                                                                              Page 57
   1        understand the process, the -- an appropriate

   2        reaction would be to simply demonstrate that you

   3        did not move; that you still are a legal

   4        resident of the county.

   5                       So I viewed this then, and I view the

   6        challenge as it's provided for under our laws, a

   7        very benign process that encourages citizens to

   8        participate in the effort to ensure election

   9        integrity.

 10                        I didn't see anything hostile or

 11         aggressive about it whatsoever.

 12                        MS. FORD:          Could we pull up Exhibit D

 13         again, please, and go to page 2?

 14                        (Pause)

 15                        MS. FORD:          We might want to make it

 16         bigger -- the paragraph -- the first paragraph

 17         starting:        Yesterday afternoon.

 18      BY MS. FORD:

 19               Q.       So here you say:               Starting yesterday

 20         afternoon, and with the support of countless

 21         Georgians across the state who demand

 22         transparency and integrity in our elections, we



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                                                                              Page 58
   1        began submitting formal challenges to dozens of

   2        county election boards.

   3                       Did you write this?

   4              A.       I did.

   5              Q.       Who is the "we" in the sentence, "we

   6        began submitting formal challenges"?

   7              A.       It's probably, you know -- I mean,

   8        "we" is a broad term.                There were individuals in

   9        Georgia that were submitting challenges across

 10         boards of elections throughout the state.                        I'm

 11         not aware of all of them.                   I'm not aware of

 12         which boards received challenges -- all the

 13         boards that did.

 14                        I think "we" is a statement of

 15         citizens, but not a defined team of people.

 16                        Again, you know, some of this is

 17         written knowing there is a fair amount of public

 18         access to that, and so it's drafted under the

 19         context of citizens being actively engaged.

 20               Q.       Okay.

 21                        Just to make sure we are 100% clear on

 22         this, so this was a list you prepared.



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                                                                              Page 59
   1                       When you say you are submitting -- I'm

   2        sorry -- "we are submitting formal challenges,"

   3        this is an effort that is entirely separate from

   4        True The Vote?

   5              A.       I can't make it clear enough.                   This is

   6        completely unrelated to True The Vote,

   7        absolutely unrelated to True The Vote.

   8                       MS. FORD:          We can pull this down.

   9        Thank you.

 10               A.       Now, you know, we are aware that True

 11         The Vote was doing -- was launching challenges.

 12                        But I -- I don't know that -- I don't

 13         know when they did those relative to the

 14         December 18 time stamp on that post, so -- but

 15         completely independent of what they were doing.

 16               Q.       Following up on that, if you are were

 17         aware that True The Vote was filing challenges,

 18         and your general hope -- sorry, I won't say

 19         "hope" -- maybe motivation in working on this

 20         was to highlight data issues, election integrity

 21         issues, why move forward with your own at all?

 22               A.       I don't understand your question.



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                                                                                 Page 60
   1              Q.       So you said your challenges were not

   2        outcome-oriented.

   3                       Is that correct?

   4              A.       Not outcome as it relates to the

   5        general fervor of the day around election

   6        results.

   7                       "Outcome" in terms of highlighting

   8        issues with procedural vulnerabilities in our

   9        process.       That's an outcome.

 10                        But I think, generally speaking, when

 11         people talk about outcome -- outcomes of the

 12         election -- they are talking about which

 13         candidates won and which ones did not.                          That was

 14         not a motivation.

 15               Q.       Sure.

 16                        What I'm trying to ask is:                      If your

 17         goal was to highlight issues in the data to say,

 18         "We might have a problem here," and you already

 19         knew that other groups were filing challenges,

 20         why was it important to you to move forward with

 21         your own?

 22               A.       Being uninvolved with the other



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                                                                              Page 61
   1        challenges, they were inconsequential with our

   2        efforts.       I do not have visibility into what

   3        they did, how they did, why they did, not having

   4        any authorship over it.                  The effort was

   5        completely independent.

   6                       And what Mark and I had been scouring

   7        through and auditing was independent of what

   8        they were doing.

   9                       So I have -- I guess I struggle with

 10         the question because I don't see that -- that

 11         any -- that -- anybody else's efforts being

 12         relevant.

 13                        If citizens have concerns, my hope is

 14         that they would use lawful means to petition

 15         their government.

 16               Q.       That's fair enough.

 17               A.       Okay.

 18                        MS. FORD:          Can we pull up Exhibit C,

 19         please, and mark it as Exhibit C?

 20

 21

 22



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                                                                              Page 62
   1                       (Exhibit C, Three-page email chain,

   2        top email From: Derek Somerville, To: Catherine

   3        Engelbrecht, Subject: RE: FW: Elector Challenge

   4        Follow-Up Items, Sent: December 19, 2020 (no

   5        Bates Nos.), marked for identification)

   6                       (Pause)

   7                       MS. FORD:          Let's go to the middle of

   8        the page, if we can scroll down to this -- yes,

   9        this right here is perfect.

 10      BY MS. FORD:

 11               Q.       Starting with "Good evening Patriots,"

 12         this appears to be an email you wrote explaining

 13         background on the challenges that you helped

 14         organize.

 15                        Do you recognize this?

 16               A.       I do.

 17               Q.       I just want to read a paragraph here

 18         for the record, since it won't be on the record

 19         otherwise.

 20                        This says:           I have attached the three

 21         certifications from our National Change of

 22         Address process.            These documents certify the



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                                                                                     Page 63
   1        date we process the voter file and the specific

   2        details of that processing.                     The Georgia Voter

   3        File is extremely large, so it was broken into

   4        three parts and each part processed

   5        individually, thus the three separate

   6        certifications.            I would present these as

   7        evidence to your board that these lists were

   8        developed using the same standards as the state.

   9        I am also including Mark Davis' affidavit, which

 10         is his sworn testimony that he personally

 11         processed the files.

 12                        MS. FORD:          And I'm sorry.               I am

 13         realizing now this is not on this page.                           Can we

 14         scroll to the next page?

 15                        Scroll down a bit further.

 16                        I apologize.            I'm reading from the

 17         email myself in front of me.

 18      BY MS. FORD:

 19               Q.       Mr. Somerville, what did you mean when

 20         you said Mark Davis personally processed the

 21         files?

 22               A.       Yeah -- Mark is in the business --



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                                                                              Page 64
   1        Mark has a business that -- and I believe I have

   2        this right -- Mark is in the business of doing

   3        large volume print work for his customers.

   4                       I have familiarity with large volume

   5        print from a prior job where I was responsible

   6        for very large number of monthly documents to be

   7        mailed that had to go to the individuals that

   8        they are being mailed to, so I understood that

   9        Mark understood -- understands the NCOA

 10         processing that's available for those large

 11         lists, as I understand it very well as well.

 12                        And so I believe by "certification," I

 13         would have meant that Mark had processed those

 14         through the U.S. Postal Service's national

 15         change of address and received them back as

 16         certified from the U.S. Postal Service.

 17               Q.       Do you still have those three

 18         certifications?

 19               A.       I don't -- I don't recall that I do.

 20                        These are large files, so I don't

 21         suspect that I would have retained them or -- I

 22         just don't recall that I do.



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                                                                              Page 65
   1                       And I've got to look at this a little

   2        closer, too, and make sure that I -- I know

   3        exactly what we are referring to here.

   4                       But it would have been the U.S. Postal

   5        Services NCOA -- you know what?

   6                       So I don't think those are files.

   7                       I think they are actual documents that

   8        indicate from the national change of address

   9        processor certifying that the files were ran

 10         through their processing -- is what I believe

 11         that means.

 12               Q.       Okay --

 13               A.       And those -- I'm sorry.

 14               Q.       Sorry.       If you had something to say,

 15         you can finish it.

 16                        Okay.

 17                        What do you mean here when you say you

 18         used the same standards as the state?

 19               A.       So what's implied here is the national

 20         change of address process is not -- is performed

 21         by companies that have access to the U.S. Postal

 22         Services' national change of address database.



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                                                                              Page 66
   1        That's a standard process that, regardless who

   2        has it done, it's performed in a uniform way,

   3        depending on the vendor that actually performs

   4        it.

   5                       So in this instance, my understanding

   6        would be that Mark has a vendor that he would

   7        use to run his addresses through a national

   8        change of address to see if somebody -- that

   9        individual at that address -- had filed a change

 10         of address.

 11                        That would be the same process that is

 12         permitted under the NVRA, and that the state

 13         would perform as well on, I think, a biannual

 14         basis at that point.

 15                        So I think the point of that is that

 16         the NCOA process that was used to validate or to

 17         scrub the voter files is the same process that

 18         the state would use.

 19               Q.       Okay.

 20                        So when you say "same standards," this

 21         is generally meant to convey:                      The state uses

 22         NCOA, we used NCOA.



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                                                                              Page 67
   1                       Is that fair?

   2              A.       Exactly.

   3                       And the implication is to ensure that

   4        it's an unbiased process that is uniform to what

   5        the state would have done, or that's a best

   6        practice in the industry.

   7                       Frankly, this is not new technology.

   8        It's widely used.

   9                       And so I think this was intended to

 10         convey to those that don't understand that this

 11         is not something that you sit in your basement

 12         and you do on your computer.

 13                        It's an actual company that has the

 14         U.S. Postal Service's national change of address

 15         database; and that you have that file scrubbed

 16         through that -- through that -- that vendor, if

 17         you will.

 18               Q.       That's helpful.              Thank you.

 19                        MS. FORD:          We can pull this down.

 20      BY MS. FORD:

 21               Q.       Mr. Somerville, did you participate in

 22         an interview with Mike Crane in December of



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                                                                                   Page 68
   1        2020?

   2              A.       With Mike -- can you repeat the name?

   3              Q.       Mike Crane?

   4              A.       Mike Crane, yes.

   5              Q.       What did you speak about?

   6              A.       At that time, all anybody wanted to

   7        hear about was election integrity.                             So I don't

   8        recall the specifics of what we discussed, but

   9        I'm certain it's on record; and I'm certain it

 10         involved the election integrity discussions that

 11         were going on at that time.

 12               Q.       That's fair.

 13                        You mentioned something in your

 14         interview with Mike Crane that I would like

 15         clarity on.

 16                        You said:          What we do is we take the

 17         voter file and take the absentee file and then

 18         take all that information and process it through

 19         the U.S. Postal Service's national change of

 20         address database.

 21                        I would like to take this

 22         step-by-step.



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                                                                               Page 69
   1                       What did you mean when you say, "We

   2        take the voter file"?

   3                       MS. KRAMER:           Objection, relevance.

   4                       Are you asking as it relates to True

   5        The Vote and why we are here today?

   6                       Or him and his own challenges that he

   7        did?

   8                       I would just ask that we keep this

   9        line of questioning just related to True The

 10         Vote and why Derek is testifying today.

 11                        MS. FORD:          Ms. Kramer, this is

 12         following up on Mr. Somerville's explanation

 13         that he did not work with True The Vote, so I'm

 14         exploring what he did on his own.

 15                        MS. KRAMER:           Okay.        I would still

 16         object to relevance in that same manner that

 17         what he did on his own is not related to why he

 18         is here today.

 19                        But I'll allow him to answer.

 20                        But I just want to note my objection

 21         for the record, please.

 22                        MS. FORD:          Okay.       That is noted.



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                                                                              Page 70
   1        Thank you.

   2     BY MS. FORD:

   3              Q.       Mr. Somerville, so what did you mean

   4        when you said that you "take the voter file"?

   5                       What does that mean?

   6              A.       Well, I think it's self-evident.                   It's

   7        indicating that the voter file was processed.

   8                       If you want clarity on the verb

   9        "take," I don't think there is any meaning

 10         behind that at all.

 11                        I think the intent is that to express

 12         that the voter file was processed through the

 13         national change of address database.

 14               Q.       Okay.

 15                        What did you mean by "take the

 16         absentee file"?

 17               A.       The absentee file would be those

 18         voters that cast an absentee vote.

 19               Q.       Okay.

 20                        Here I have, I guess, specific

 21         questions.

 22                        So was that a file of those who voted



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                                                                              Page 71
   1        in the general election in 2020?

   2              A.       I don't recall, because I did not

   3        secure that file.

   4              Q.       Okay.

   5                       I guess what I was trying to

   6        understand -- maybe you do not know -- is

   7        whether it was a file of those that had

   8        previously voted absentee?

   9                       Or a file of those who had requested

 10         an absentee for the runoff election?

 11               A.       I don't recall.

 12                        But I don't believe that the runoff

 13         election -- I don't recall -- I -- I'm sorry.                          I

 14         simply -- I don't recall because I -- I did not

 15         order that voter file, so I don't -- I don't

 16         know the particular parameters of that file.

 17               Q.       The challenge list that you and Mark

 18         Davis collaborated to put together -- did that

 19         include only voters who were absentee voters?

 20               A.       No, I don't believe so.

 21               Q.       Okay.

 22                        So it would have included voters who



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                                                                              Page 72
   1        voted in-person in the 2020 general election?

   2              A.       Again, this is entirely independent of

   3        any actions by True The Vote.

   4                       But I believe that if an individual

   5        cast a vote and they appeared on the national

   6        change of address database as having moved

   7        outside of their county, then they were probably

   8        included in that file, with some tolerances for

   9        military bases, electronic -- votes, etc.

 10               Q.       Okay.

 11                        We can get to that now so you can walk

 12         me through it.

 13                        MS. FORD:          Can we pull Exhibit D back

 14         up and go to page 2 again?

 15                        (Pause)

 16                        MS. FORD:          Yes.      Can we make this

 17         bigger?      Thank you.

 18      BY MS. FORD:

 19               Q.       Going to this third paragraph here,

 20         you mention here there are roughly 40,000 voters

 21         on your list across all 159 counties that you

 22         believed were worth filing before the runoff



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                                                                              Page 73
   1        election.

   2                       Is that correct?

   3                       THE WITNESS:            I need to read.

   4                       MS. FORD:          Sure.

   5              A.       That's what I wrote.

   6              Q.       Okay.

   7                       Can you walk me through how you

   8        arrived at that roughly 40,000 number?

   9                       (Pause)

 10                        MS. KRAMER:           I'm going to object again

 11         to scope.

 12                        Honestly, this is -- he's made it very

 13         clear, counsel, that this has nothing to do with

 14         True The Vote.

 15                        And I just would ask that we please

 16         keep the line of questioning related to the

 17         witness as it relates to True The Vote, and just

 18         True The Vote.

 19                        MS. FORD:          Counsel, I think this

 20         lawsuit is about more than just True The Vote.

 21                        And Mr. Somerville has testified that

 22         he helped file challenges in the runoff



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                                                                                  Page 74
   1        election, which is the primary thrust of this

   2        lawsuit.       So I think that these questions are

   3        relevant and worth exploring.

   4                       MS. KRAMER:           Again, counsel, I still

   5        object to scope.            That's still outside the scope

   6        of why he is here today.

   7                       I will allow him to answer you, but

   8        let's, please, just remember this is -- he's

   9        here as it relates to True The Vote, not him in

 10         his, you know, capacity of what he did outside

 11         of his communications with True The Vote.

 12         That's not why we are here.

 13                        MS. FORD:          Ms. Kramer, that -- we did

 14         seek questioning in discovery about his

 15         communications with True The Vote, but he is

 16         separately named as a defendant in this lawsuit,

 17         so we intend to explore that whether or not he

 18         worked with True The Vote.

 19                        MS. KRAMER:           I understand.             I

 20         understand.

 21                        But he made it very clear that what

 22         we're -- what you are pointing to right now --



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                                                                              Page 75
   1        he made it very clear that this has nothing to

   2        do with True The Vote.

   3                       Like I said, noting my objection to

   4        scope, I will let him answer.

   5                       But I just want to -- the line of

   6        questioning -- let's just -- as it pertains to

   7        True The Vote, please.

   8                       MS. FORD:          Okay.

   9     BY MS. FORD:

 10               Q.       Mr. Somerville, can you walk me

 11         through how you generally arrived at that 40,000

 12         number?

 13               A.       Yeah.

 14                        And I would share, too, at this point

 15         in time, there were literally hundreds of people

 16         in the state that are trying to find a way to

 17         contribute to the discussion on voter integrity.

 18                        So I'm happy to answer this question.

 19                        But if the premise is that anybody and

 20         everybody in the state of Georgia that did

 21         anything whatsoever to try to uphold the laws in

 22         the state, the list is going to get extremely



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                                                                              Page 76
   1        long extremely quickly.

   2                       Our motivations for this effort here

   3        were truly, truly benign, and I think it's

   4        evident in these posts.

   5                       When we went through the data, we

   6        identified a number of individuals that had

   7        indicated that they had moved.

   8                       Then, exercising an abundance of

   9        caution, we went out of our way to make sure

 10         that, as it states here, we removed individuals

 11         that appeared to be either serving in the

 12         military, or even remotely located near a

 13         military base in case the dependent -- or

 14         dependents were caught up in that.

 15                        Anyone that was and inactive record,

 16         as it says here, that we removed; anybody who

 17         voted electronically, we removed; anybody who

 18         submitted a change of address within the prior

 19         18 months, which I believe is the statute in the

 20         state, we removed.

 21                        We erred on the side of the voter over

 22         and over again until we arrived at -- and I



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                                                                              Page 77
   1        think it's roughly 40 -- it's less than that, if

   2        my recollection -- that spanned all 159

   3        counties, be them Republican, Democratic --

   4        Democrat -- a mix.              This effort was independent

   5        of all of that.

   6                       And that -- the idea was to highlight

   7        the fact that it appears that a significant

   8        number of people may have cast ballots out of

   9        the improper county.

 10               Q.       What do you mean -- sorry.

 11                        Scratch that.

 12                        Why was it important to you to err on

 13         the side of the voter?

 14               A.       Well, I think the general doctrine is

 15         also to make sure that we are not doing more

 16         damage than good in our effort, independent of

 17         what you are doing.

 18                        If the effort is truly benign, then

 19         your motive should be to do the most amount of

 20         good.

 21                        If the process in any way was going to

 22         create harm, then you don't undertake it.



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                                                                              Page 78
   1                       In this case, this is a very binary

   2        effort.      It simply says:               If these conditions

   3        are met, then there is probable cause to believe

   4        that a vote might have been cast ineligibly, and

   5        that should be remedied.

   6                       And "remedied" does not necessarily

   7        mean they don't vote.

   8                       It simply means ensuring they vote in

   9        the proper county.

 10               Q.       Understood.

 11                        And what do you mean by "it could do

 12         more damage than good" if too many voters were

 13         on the list?

 14               A.       I didn't say it would be too -- it

 15         would do more damage than good if too many

 16         voters were on the list.                   I was explaining --

 17               Q.       Sorry.

 18                        Please put it in your own words, then.

 19               A.       I was explaining the general doctrine

 20         that would suggest that:                   What's the likely

 21         outcome of your effort?                  And if it's going

 22         to end -- if it's going to harm people, then you



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   1        should give great consideration to whether or

   2        not that's something you want to do.

   3                       Had there been any belief that this

   4        would be harmful, I would never have

   5        participated in it.

   6                       Just the opposite -- there was an

   7        awful lot of harmful speak and activity going on

   8        during this election that I found very

   9        objectionable.

 10                        But I was motivated to be part of a

 11         discussion where there was a tangible and

 12         measurable deficiency in our process that, for

 13         future elections, may be shored up.

 14                        That was our motivation.

 15                        Whether it was going to be 40,000 or

 16         four or none was not the effort.                         There was no

 17         target.

 18                        I was trying to be very responsible,

 19         exercise our rights within the law, encourage

 20         others to do so, which might inadvertently

 21         encourage them not to exercise behaviors that

 22         would have been detrimental to the process --



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                                                                              Page 80
   1        of which I think we can all agree, there was no

   2        shortage.

   3              Q.       You say here:             We removed individuals

   4        who did not vote in our most recent general

   5        election.

   6                       Did you, in fact, do that?

   7              A.       That would be my understanding.

   8              Q.       How was that done?

   9              A.       The voter file, as I understand it,

 10         indicates when the person last voted.

 11                        So if there was an individual that

 12         indicated they moved and they didn't vote in the

 13         last election, there was a good chance that they

 14         moved and they are not trying to vote in the

 15         election, and everything worked as it's supposed

 16         to.

 17                        That would actually be a very normal

 18         scenario.        Somebody moved.              It shows up on the

 19         national change of address, and they no longer

 20         vote in their county or the state.

 21               Q.       Okay.

 22                        So my understanding is you just



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                                                                              Page 81
   1        thought:       Those voters -- there was not a need

   2        to challenge them, because you didn't think they

   3        would vote again at their old address?

   4              A.       There is nothing to challenge because

   5        they didn't vote.

   6              Q.       Do you know if True The Vote did the

   7        same with their list? -- remove people who had

   8        not voted in the 2020 general election?

   9              A.       I have no idea what True The Vote did

 10         with their list.

 11               Q.       Okay.

 12                        You say here:             We removed records of

 13         those serving in the military and those who may

 14         be their dependents.

 15                        Did you, in fact, do that?

 16               A.       To the best of our ability, yes.

 17               Q.       How did you identify those serving in

 18         the military?

 19               A.       It was a rather exhaustive effort that

 20         just erred on the side of anybody in geographies

 21         where there were military bases, number one --

 22         of which there are many throughout the country.



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                                                                               Page 82
   1        So anybody that resided within a general

   2        proximity to a U.S. city that housed a military

   3        base were excluded.

   4              Q.       Is that the same process you used for

   5        potential dependents because they were residing

   6        in that geographic area?

   7              A.       It's one and the same.                    Anybody within

   8        a -- anybody within a general vicinity of a

   9        military base would have been removed from the

 10         list.

 11               Q.       Why did you think that was important

 12         to do?

 13               A.       As I previously stated, the aim here

 14         was to be as accurate as possible and exercising

 15         a probable cause that an individual had moved

 16         without -- and voted outside of the eligible

 17         requirements for the state.

 18                        And obviously, those serving in the

 19         military have an eligible excuse for voting --

 20         for having an address in the county here and

 21         residing in a different state.

 22               Q.       I take it you were not aware --



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                                                                              Page 83
   1        personally aware -- of whether True The Vote did

   2        that with their list?

   3              A.       I am unaware of anything they did with

   4        their list.

   5              Q.       You say here:             We removed inactive

   6        records.

   7                       Can you explain what that means?

   8              A.       An inactive record in the state of

   9        Georgia is a record in the voter file from

 10         individual that is no longer an active voter,

 11         which means, to my understanding -- and I'm not

 12         the expert by the way -- but my understanding is

 13         that they are not an eligible voter, and that's

 14         just legacy data that has not been cleaned up by

 15         the state.

 16               Q.       Okay.

 17                        What was the purpose of removing those

 18         from the list?

 19               A.       If they are not an active voter in the

 20         state, what's the purpose of challenging their

 21         eligibility in the state?

 22               Q.       By that, do you mean if someone showed



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   1        up to vote, their county would already tell

   2        them, "You are an inactive voter, you cannot

   3        vote regardless of any challenge"?

   4              A.       Well, I can't say what the county

   5        would say.

   6                       But if they showed up as an inactive

   7        voter, they would be afforded the opportunity to

   8        demonstrate that they are an eligible voter.

   9                       However, that was beyond the purview

 10         of what we are trying to demonstrate, which was

 11         a very disciplined approach to data integrity

 12         within in our -- within our Georgia data file.

 13                        An inactive voter is someone who is

 14         not participating in our elections -- again, to

 15         my understanding.

 16               Q.       You say:         We removed those who voted

 17         electronically.

 18                        Why did you do that?

 19               A.       Well, based on my understanding, if

 20         you are voting electronically, you are almost

 21         assuredly a deployed member of the U.S. Armed

 22         Forces or a member of a diplomatic core.



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   1                       But I believe that's a process -- and

   2        again, I'm not an expert.                   That's reserved for

   3        individuals with very defined criteria, so those

   4        clearly fell outside of the concern.

   5              Q.       Okay.

   6                       Was that -- you were able to see that

   7        on the voter file? -- whether they had

   8        previously voted electronically?

   9              A.       Yes.

 10               Q.       And you were not personally aware of

 11         whether True The Vote did that with their list?

 12               A.       I'm unaware of anything that True The

 13         Vote did with their list.

 14               Q.       Okay.

 15                        We are getting to the end here.

 16                        You say that:             We include only those

 17         whose change of address requests were submitted

 18         within the prior 18 months.

 19                        Why did you do that?

 20               A.       As I understand it -- my recollection

 21         may be a bit fuzzy here.

 22                        One was to restrain the scope of the



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   1        effort which was around the integrity of the

   2        data.      So I believe the prevailing logic was

   3        that the change of address process has a maximum

   4        period under which mail will be forwarded.                             And

   5        I believe the maximum period -- again, I could

   6        be mistaken here -- was 18 months.

   7                       In other words, if it's beyond that,

   8        then the record is probably no longer active and

   9        mail is no longer being forwarded.

 10                        That's my recollection.

 11               Q.       And you don't know the time period

 12         that True The Vote used, I assume?

 13               A.       I do not.

 14               Q.       Then finally here, you say:                     We

 15         continued to fine tune our list until we arrived

 16         at roughly 40,000 across all 159 counties we

 17         believe need to be verified by county election

 18         boards before the January 5th, 2020 runoff.

 19                        What do you mean by "fine tune the

 20         list"?

 21               A.       As I previously indicated, accuracy

 22         matters.       And it was very important for the



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                                                                              Page 87
   1        effort -- for Mark and I, two individuals --

   2        that we be very disciplined in approach, and

   3        that we don't take any steps that inadvertently

   4        advances inaccurate information.

   5                       The entire objective is to promote

   6        accuracy within the data file.

   7                       So if we weren't fine tuning and

   8        constantly checking, rechecking our work, it

   9        would have been at counter-purposes to advance a

 10         number of records that appear inaccurate only to

 11         find that our work was actually inaccurate.

 12                        So I believe the "fine tune" is just

 13         the disciplined approach of making sure that

 14         everything we are doing is as accurate as we

 15         possibly can be.

 16               Q.       Okay.

 17                        By the end when you had arrived at

 18         this, you know, roughly 40,000 list, did you

 19         have confidence in that list?

 20                        And in that methodology?

 21               A.       I have tremendous confidence that

 22         those individuals filed a change of address for



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                                                                              Page 88
   1        one reason or the other, and that there was and

   2        continues to be cause for each county election

   3        board to confirm that those individuals are

   4        still eligible voters within their county.

   5              Q.       If you could go back and do it again,

   6        are there any improvements you would make?

   7              A.       Our motivation was consistent

   8        throughout, which was around trying to encourage

   9        the integrity of the file, which benefits every

 10         voter, period.           So I don't believe our

 11         motivation would change.

 12                        I believe our methodology was solid.

 13                        I believe that we probably would not

 14         have done a whole lot different with respect to

 15         our efforts.         No, I don't believe so.

 16               Q.       Okay.

 17                        Did you and Mark ultimately have

 18         challenges filed in all 159 counties?

 19               A.       No.     By no stretch of the imagination

 20         did we have challenges in 159 counties.

 21               Q.       How many counties would you estimate,

 22         then?



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                                                                                   Page 89
   1              A.       And the number is not actually known

   2        to us because we made these files generally

   3        available to those that wanted to participate in

   4        the process, so it would be conjecture on my

   5        part.

   6                       But I know it was not a significant

   7        number.

   8                       I think a takeaway from this certainly

   9        was that there -- it was much more complicated a

 10         process than we estimated.

 11                        But I don't believe it was very many.

 12         And most of them were -- to my knowledge --

 13         were -- smaller rural counties in the north side

 14         of the state are the only ones I can vaguely

 15         recall.

 16                        There was an awful lot going on at

 17         that time.        And we can't submit a challenge

 18         outside of county that we live in.                             So our --

 19         our activity is somewhat limited to -- to the

 20         counties that we are in.

 21               Q.       Okay.

 22                        What do you mean when you say you:



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                                                                              Page 90
   1        Made the files generally available?

   2              A.       Well, as is evident with my Facebook

   3        post, people were aware that we were working on

   4        this.

   5                       And individuals would reach out and

   6        say:     Hey, I would like to participate.                     How can

   7        I help?

   8                       And if they are in a county that had

   9        individuals identified, then -- if we are able

 10         to get back to everybody, we would have

 11         encouraged them to submit the challenge in their

 12         own counties.

 13                        But it wasn't -- you know, I can't --

 14         I need to be very clear here.                      There was not an

 15         organization around this.

 16                        Things were moving very quickly.

 17                        We were more motivated around the data

 18         integrity than anything.

 19                        So by the time we realized that there

 20         was a substantial number of records within the

 21         voter file that needed closer examination, you

 22         know, the days were ticking by.



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                                                                              Page 91
   1                       And so it -- I would love to tell you

   2        it was a more coordinated effort, but it wasn't.

   3                       So I don't -- I don't know how many.

   4              Q.       That's fair.

   5                       So if someone expressed interest in

   6        helping out, did you email the list for that

   7        specific county?

   8              A.       So some were emailed.                   Some -- but --

   9        and I believe we had a Dropbox that people can

 10         access.

 11                        Again, there was no meaningful way to

 12         manage other people's activities through this.

 13         It wasn't our core focus.

 14                        So I'm sure we exercised a number of

 15         means to communicate lists to people.

 16               Q.       Okay.

 17                        So was the general thrust of this:

 18         Someone indicated they were interested; you sort

 19         of guided them to the list; and then it was

 20         their challenge from that point on?

 21               A.       That's the general thrust, and it was

 22         an unimpressive level of engagement.



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                                                                                  Page 92
   1              Q.       An unimpressive?

   2              A.       It was an unimpressive.

   3                       In other words, there was not a

   4        wide-scale level of engagement.

   5              Q.       Okay.

   6                       When you say "this ended up being much

   7        more complicated than you anticipated," what do

   8        you mean by that?

   9              A.       The data file is very large.                    And

 10         it's, by my estimation, not well-maintained by

 11         the state.

 12                        And so, as is evident in the paragraph

 13         that you have up, it required a significant

 14         amount of data massaging in order to make sure

 15         that individuals weren't inadvertently looped

 16         into this that appeared to not fall within the

 17         scope of the effort, which was to identify

 18         people that didn't live in their counties and

 19         voted in their counties.

 20                        So, you know, certainly not being an

 21         expert with the data file, I didn't appreciate

 22         how large that file is, and how complicated that



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                                                                              Page 93
   1        file is, and, frankly, how poorly-managed by the

   2        state, to the detriment of all citizens, that it

   3        is.

   4              Q.       Do you know how many counties accepted

   5        challenges that -- of the lists that you and

   6        Mark put together?

   7              A.       I don't.

   8                       But I think we would have heard it --

   9        you know, heard a fair amount about it if there

 10         were.

 11                        I don't believe that there -- to my

 12         knowledge, I'm not sure that any county accepted

 13         a challenge.

 14                        I have no recollection of any county

 15         accepting a challenge.

 16               Q.       Did that surprise you that no county

 17         accepted them?

 18               A.       I don't know if I was surprised.

 19                        Again, I think we opened with a

 20         discussion around, you know, what the government

 21         does and doesn't do remains a mystery to me.

 22                        You know, I think that there was a



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                                                                              Page 94
   1        very appropriate effort that was engaged in with

   2        a tremendous amount of care; and certainly

   3        didn't imply that anybody had done anything

   4        wrong, but rather there were anomalies within

   5        the data file.

   6                       And upon reflection, I would expect

   7        there to be more interest in that by the

   8        government.

   9                       But I wouldn't characterize it as

 10         surprised.

 11               Q.       Okay.

 12                        MS. FORD:          Can we take this down,

 13         please, and pull up Exhibit E, and mark it as

 14         Exhibit E?

 15                        (Exhibit E, Three-page document

 16         entitled: True The Vote Partners With Georgians

 17         in Every County to Preemptively Challenge

 18         364,541 Potentially Ineligible Voters (no Bates

 19         Nos.), marked for identification)

 20      BY MS. FORD:

 21               Q.       Mr. Somerville, this is a press

 22         release from True The Vote which names you among



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                                                                              Page 95
   1        other people as someone working on election

   2        integrity efforts in Georgia.

   3                       Do you recognize this?

   4              A.       I do.

   5              Q.       Is this the press release that we

   6        spoke about earlier that Ms. Engelbrecht sent to

   7        you, and you maybe did some clarification about

   8        you, or maybe added Mark's name?

   9              A.       Yes, it is.

 10               Q.       It says here that True The Vote

 11         planned to bring challenges to approximately

 12         364,000 voters in Georgia.

 13                        That is significantly more than the

 14         approximately 40,000 voters you came up with,

 15         correct?

 16               A.       I think mathematically you are

 17         correct.

 18               Q.       Can you remind me? -- did you ever ask

 19         True The Vote why they were challenging so many

 20         voters?

 21               A.       I don't recall asking their motivation

 22         for it, no.



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                                                                              Page 96
   1              Q.       Did you have confidence in True The

   2        Vote's methodology?

   3              A.       I was unfamiliar with their

   4        methodology, so there was -- I had no opinion on

   5        it.

   6                       Again, it was a quick meeting of

   7        people I had never heard of before, and I had no

   8        visibility into how they got to their number.

   9        To this day, I don't know how they got to that

 10         number.      So --

 11               Q.       Why didn't your list have 360,000

 12         people on it?

 13               A.       Well, I don't know why theirs did, so

 14         I don't know how to draw a comparison between

 15         the difference in volumes.

 16                        I only know what we did, which I

 17         described as a very disciplined, very careful

 18         process that excluded individuals from that for

 19         a myriad of reasons.

 20               Q.       Okay.

 21                        If your list of approximately 40,000

 22         voters was disciplined, do you believe a list of



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                                                                              Page 97
   1        almost 400,000 voters -- ten times as many -- is

   2        not disciplined?

   3              A.       If their methodology sought to include

   4        that volume and they executed it with

   5        discipline, then theirs was a disciplined

   6        process.

   7                       So I can't speak to how they --

   8        whether they executed with discipline.

   9                       I understand the spirit of the

 10         question, but it's evident that we used a

 11         different process because the numbers are so --

 12         so different.

 13               Q.       Sure.

 14                        MS. FORD:          We can pull this down.

 15         Thank you.

 16                        Can we pull Exhibit D back up and go

 17         to page 22, please?

 18                        (Pause)

 19                        MS. FORD:          And just make this purple

 20         box bigger, please?

 21      BY MS. FORD:

 22               Q.       This is a post from December 17 in



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                                                                                Page 98
   1        which you write:            Volunteers needed from each

   2        county for a voter-integrity project!                          15-minute

   3        effort, performed from home.                      PM me if

   4        interested.

   5                       Do you recognize this?

   6              A.       I do.

   7              Q.       Was this the post essentially

   8        recruiting individuals to submit elector

   9        challenges to specific counties?

 10               A.       Yeah -- I recall, yes.                    This would

 11         have been an effort to involve individuals in

 12         their counties with these challenges,

 13         independent of True The Vote.

 14                        This is not related to True The Vote

 15         at all.

 16               Q.       Okay.

 17                        So no one here who reached out to

 18         you -- sorry.

 19                        I was about to put multiple double

 20         negatives there.

 21                        Did you forward any of these

 22         individuals who were interested to True The



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                                                                              Page 99
   1        Vote?

   2              A.       No.

   3              Q.       What exactly were you asking these

   4        volunteers to do?

   5              A.       Well, it's been a bit, but I suspect

   6        this was about -- as we mentioned before --

   7        identifying individuals that wanted to

   8        participate with their local board of election

   9        with this eligibility effort that we were

 10         underway.

 11                        We could -- we could only submit

 12         challenges in our own counties.                        We can't submit

 13         them in other counties.                  So this was a largely

 14         unsuccessful effort to identify individuals that

 15         wanted to participate in the action.

 16                        Again, there -- you know, the context

 17         of the day was there was an awful lot of

 18         activity going on, but this is wholly unrelated

 19         to True The Vote, and was largely unsuccessful.

 20               Q.       Why do you categorize it as

 21         unsuccessful?

 22               A.       As I indicated earlier, we did not



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                                                                             Page 100
   1        have a lot of people participate.

   2              Q.       So you just didn't have a lot of

   3        volunteers who offered to submit a challenge?

   4              A.       That's correct.

   5              Q.       Do you know why?

   6                       Do you have a guess why?

   7              A.       I don't know why.

   8                       I think it's a lot of people want to

   9        be involved but -- but there is apathy.                        There

 10         was certainly a lot of interest in the topic

 11         matter, but -- largely because it involved

 12         election integrity.

 13                        But I don't -- I don't know why.                   Some

 14         of it is just timing.                It was almost Christmas,

 15         you know.        It's just that time of year.

 16               Q.       Okay.

 17                        Did you, yourself, submit any

 18         challenges under your own name?

 19               A.       I did not.

 20               Q.       Why not?

 21               A.       My understanding in my county, someone

 22         completely independent of all this had submitted



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                                                                              Page 101
   1        a challenge.          I'm not sure who it was, but I was

   2        told that challenges had been submitted in my

   3        county, so there was no point in submitting one.

   4              Q.       I just want to understand that.

   5                       Because before, you said didn't matter

   6        to you that True The Vote was submitting their

   7        own.       You thought it was important to do your

   8        own thing.

   9                       But on your own data, why was that not

 10         important in Fulton?

 11               A.       Can you clarify your question?

 12               Q.       Yeah.

 13                        I guess before what I understood is

 14         you didn't care what other people were doing and

 15         you thought it was important to do your own list

 16         separate from True The Vote.

 17                        So why would you not submit your own

 18         challenge, even though other groups were doing

 19         theirs?

 20               A.       You are conflating the development of

 21         the list with the submittal of a challenge.

 22                        So our focus on our list was not



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   1        influenced by anybody.                 We had a process and it

   2        was important that we do our own work.

   3                       As far as the submittal of challenges,

   4        we had no visibility into what other people were

   5        doing.

   6                       But in my own county, if a list had

   7        been -- if a challenge had been submitted, I

   8        would only be encumbering the process by

   9        submitting yet another one.                     So there was no

 10         motivation to do that because, as I understood,

 11         our board of election had received a challenge

 12         list.      And I don't know who from, but I was told

 13         they already were working on that.

 14               Q.       Okay.

 15                        Did Mark Davis submit a challenge?

 16               A.       I don't know if Mark did or not.

 17                        (Pause)

 18                        MS. FORD:          We can take this down,

 19         thank you.

 20                        Can we pull up Exhibit C, please?

 21                        And we have already marked.

 22                        (Pause)



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                                                                              Page 103
   1                       MS. FORD:          Trying to see where this

   2        is.    Looking for something that starts on

   3        December 19.         Or -- sorry.             I'm sorry.       I have

   4        got something confused.

   5     BY MS. FORD:

   6              Q.       You mentioned in your discovery

   7        responses that:            On December 19, 2020, I sent an

   8        email to Catherine Engelbrecht which contained

   9        talking points for elector challenges that I

 10         constructed on my own accord.

 11                        Is in the email that containing

 12         talking points that you are referring to?

 13               A.       I believe so.

 14               Q.       Okay.

 15                        In your discovery responses, you

 16         mentioned that you assumed True The Vote had

 17         legal resources who would review my assumptions

 18         in the talking points.

 19                        What assumptions are you referring to?

 20               A.       It's pretty -- well, it's just as you

 21         have stated.         I shared those talking points

 22         which I had drafted on my own accord with



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                                                                             Page 104
   1        Catherine.

   2                       But my understanding is they are a

   3        large organization, so my assumption is that --

   4        that at the time, and even now -- that my

   5        talking points might have been of little value,

   6        but I wanted to share them.

   7                       (Pause)

   8                       MS. FORD:          Can we take a five-minute

   9        break, please?           Is that fine with you?

 10                        MS. KRAMER:           That's fine.

 11                        THE VIDEOGRAPHER:                The time is 10:57

 12         a.m. and we are now off the record.

 13                        (Recess from 10:57 a.m. to 11:03

 14         Eastern Daylight Time)

 15                        THE VIDEOGRAPHER:                The time is 11:03

 16         a.m. and we are back on the record.

 17      BY MS. FORD:

 18               Q.       Mr. Somerville, you testified just now

 19         that you did not submit your own challenge in

 20         Fulton County because someone else had submitted

 21         a challenge in Fulton County.

 22                        Is that correct?



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   1              A.       No, I did not testify that.                     I live in

   2        Forsyth County, not in Fulton County.

   3              Q.       I apologize.

   4                       Forsyth.         Forsyth?

   5              A.       Correct.

   6              Q.       Okay.

   7                       I apologize.

   8                       Then did you testify that you did not

   9        submit a challenge in Forsyth County because

 10         someone else did?

 11               A.       I don't know that that is the sole

 12         reason I didn't file a challenge in Forsyth

 13         County, but I was aware that one had been

 14         submitted prior to me submitting my own.

 15                        As I indicated earlier, the real

 16         effort was to work through the data and

 17         highlight the data integrity anomalies that we

 18         found.

 19                        So I can't say with certainty that I

 20         had a plan to submit it myself in Forsyth

 21         County, but I do know that one was submitted

 22         prior to me submitting one, if I wanted to.



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   1              Q.       Do you know who submitted the other

   2        challenge in Forsyth County?

   3              A.       Not with certainty, no.

   4              Q.       So is it fair to say you -- you don't

   5        know the methodology that went into the other

   6        challenge list that was submitted in your

   7        county?

   8              A.       I don't even know who completed the

   9        list in my county, so I don't know the

 10         methodology, or the individuals who put it

 11         together, or when it was submitted, or why.                         I

 12         am unfamiliar with it.

 13               Q.       Okay.

 14                        Mr. Somerville, to be candid, I am

 15         struggling to understand, again, why, if you

 16         felt it was important to develop your own list,

 17         have an accurate list, you would not want to

 18         move forward with what you believed to be an

 19         accurate list on your own.

 20               A.       Well, I'm not sure you understand all

 21         of our motivation.

 22                        One big motivator for me was to take



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   1        attention away from a lot of vitriol, a lot of

   2        the unproductive discourse, that was underway

   3        around that election and draw people's attention

   4        to very real opportunities to improve the

   5        integrity of our elections across the entire

   6        state for all voters.

   7                       Whether or not the challenges were

   8        submitted, and whether or not they were heard,

   9        and whether or not they were consequential at

 10         the county level was tertiary to trying to

 11         demonstrate that there are laws in the state

 12         that empower citizens to be involved; that our

 13         voter file is managed by state officials, and

 14         potentially not very well.

 15                        And I wanted to demonstrate that there

 16         were very real opportunities to improve the

 17         overall integrity of our elections in the state

 18         and encourage other people to participate in

 19         that effort.

 20                        So I think the disconnect is that

 21         everybody wants to connect this to a desired

 22         outcome, likely connected to the election



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                                                                               Page 108
   1        results.

   2                       The outcome I was looking for was to

   3        demonstrate the importance of integrity -- data

   4        integrity and data hygiene within that voter

   5        file, which was arguably very, very poor at the

   6        time of the election.

   7                       That -- my passion surrounded the

   8        integrity of the data, not the outcome of the

   9        election.

 10               Q.       Okay.

 11                        You say you wanted to draw attention

 12         to the issue.

 13                        How did you plan to do that if you

 14         were not going to file any challenges?

 15               A.       Well, I would argue by virtue of being

 16         deposed right now, I drew attention to the

 17         issue.

 18               Q.       That's fair.

 19                        I guess what I'm saying is:                     If it was

 20         important to you to do the diligence, develop

 21         this list, then be able to say, "Hey we've

 22         identified these 40,000 that we think deserve



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                                                                             Page 109
   1        attention," and that was sufficient for you, why

   2        then did you encourage other volunteers to

   3        submit challenges in their own counties?

   4              A.       Well, as I just stated, part of the

   5        effort was to encourage people to participate in

   6        a lawful process.

   7                       I also believed at the time -- and

   8        maybe I have an inflated sense of where I fit in

   9        this state -- but I was of the belief that

 10         elected officials were paying attention to what

 11         we were doing, and that our effort might

 12         influence discussions, and push them in a more

 13         productive place.

 14                        It's my fundamental belief that

 15         individuals in the state, in all counties,

 16         across all political affiliations, encompassing

 17         all ethnicities, were damaged by the lack of

 18         hygiene in our voter file.

 19                        And the effort was to go straight to

 20         the source of the matter and try to draw

 21         attention to the voter file.

 22                        The challenges are a part of that.



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   1                       But the challenges then pushed the

   2        counties to take a more proactive role in making

   3        sure their voter files are accurate.

   4                       There is only so much we could do.

   5        But what we could do is spend some time and try

   6        to audit that voter file and bring attention to

   7        it.    And I think that's what we did, and I hope

   8        to the betterment of all the voting citizens of

   9        the state.

 10               Q.       Okay.

 11                        Am I understanding you correctly that

 12         you were trying to draw attention to the need

 13         for list maintenance?

 14               A.       That's a fair statement.

 15               Q.       Okay.

 16                        And that there were just -- from what

 17         you believed to be outdated data on the -- on

 18         the voter rolls?

 19               A.       My primary supposition about what we

 20         discovered was that the voter file had not been

 21         maintained well by the Secretary of State; and

 22         that that was unacceptable; that it was damaging



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   1        the overall confidence across the state in the

   2        results of our elections; and that fundamentally

   3        that was hurtful to every single voter in the

   4        state.

   5                       And so the remedy was to try to take

   6        attention away from, frankly, all the nonsense

   7        that was being spewn about at that time and draw

   8        attention to something that could be measured.

   9        It was tangible.            It was a lawful practice that

 10         encourages citizen participation.                         It was a

 11         nonpartisan effort, and one that I felt -- and

 12         feel now -- was a very good thing to undertake

 13         at a time when people really needed to be

 14         focused on the real opportunities in the state

 15         to improve the overarching processes of our

 16         elections.

 17                        So I will finish this by saying:                       It

 18         is difficult today to make people understand

 19         that our effort -- which was completely

 20         independent of True The Vote's, completely

 21         independent -- was not motivated by the outcome

 22         that I think was the prevailing narrative of the



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                                                                             Page 112
   1        time.

   2                       And I think the effort was successful

   3        because I know the legislature took up this

   4        discussion.

   5                       I do believe that the Secretary of

   6        State's office took a closer look at the data

   7        hygiene.       I believe that they have probably

   8        acted on it since then.

   9                       And we know a reasonable number of the

 10         folks that we identified in our list have since

 11         gone back and updated their addresses to the

 12         address of record that we suggested that they

 13         were at -- or at least we believed at.

 14                        So very few of these were actually

 15         submitted to county boards.

 16               Q.       Okay.

 17                        Just now, you said that you were not

 18         motivated by outcome.

 19                        Do you have any reason to believe that

 20         True The Vote's challenge effort was motivated

 21         by outcome?

 22               A.       Well, to clarify, I think what I said



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   1        was I wasn't motivated by an outcome that was

   2        consistent with the hyperbolic narrative that

   3        was surrounding the election.

   4                       Our outcome motivation was data

   5        hygiene.

   6                       I'm completely unaware of what True

   7        The Vote's motivation was.

   8                       What I would hope, it was the same.

   9              Q.       Okay.

 10                        Just now, you also mentioned that, you

 11         know, you hoped this would be real and tangible

 12         and in contrast to the nonsense that was

 13         surrounding the election.

 14                        What do you mean by "nonsense"?

 15               A.       How much time did we schedule for

 16         today?

 17               Q.       Give me a brief summary.

 18               A.       Well, I hope by "nonsense," that's

 19         self-evident.          But, you know, to coin the common

 20         words, the discussions of crackin'; you know,

 21         this -- these theories that were running

 22         rampant; everybody on the Internet trying to



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   1        come up with their own theory about why events

   2        transpired the way they do.

   3                       Frankly, none of that was productive

   4        for the citizens of the state.                       It wasn't

   5        productive for our democracy.                      It wasn't

   6        productive for real opportunities to continue to

   7        improve our -- the integrity of our elections in

   8        the state which is a never-ending process that

   9        needs to take place continually.

 10                        So I think any measure of the vitriol

 11         that was going on -- I had no interest in any of

 12         that; and I saw that as disenfranchising

 13         everybody in the state; and wanted to be an

 14         active participant in making things better.

 15                        But I certainly didn't want to be an

 16         active participant in advancing the type of

 17         rhetoric that was dividing people, and I think

 18         taking our attention away from the very real

 19         opportunities to collaborate on the improvement

 20         of our elections.

 21                        So I view myself as relatively

 22         disciplined and we kind of just ignored all that



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                                                                             Page 115
   1        noise and stayed focused on data hygiene.

   2                       MS. FORD:          Could we please pull up

   3        Exhibit F and Mark it as Exhibit F?

   4                       (Exhibit F, Single-page email From:

   5        Catherine Engelbrecht, To: Amy Holsworth,

   6        Subject: Citizen Challenge Q&A Zoom call Sunday

   7        night at 6p et, Sent: December 19, 2020 (no

   8        Bates No.), marked for identification)

   9                       (Pause)

 10      BY MS. FORD:

 11               Q.       This is an email invitation from Ms.

 12         Engelbrecht about a challenger town hall

 13         meeting.

 14                        Do you recognize this?

 15               A.       I don't necessarily recognize the

 16         email, but I do recognize the town hall meeting

 17         that you reference, yes.

 18               Q.       Did you attend that meeting?

 19               A.       I did.

 20               Q.       Before we get to that, Ms. Engelbrecht

 21         here calls you a:             Fellow challenger.

 22                        What exactly did she mean by that?



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   1                       Or did you take it to mean?

   2              A.       Well, I don't -- I don't believe that

   3        this email was particularly impactful to me, so

   4        I don't even recall that language.

   5                       I see it there.

   6                       I don't know why she chose the

   7        language she chose, but I never issued a

   8        challenge, so --

   9              Q.       Have you ever issued an elector

 10         challenge?

 11               A.       I have not.

 12               Q.       So you did attend this call?

 13               A.       I did attend this call.

 14               Q.       Did you speak on the call?

 15               A.       I'm sure I spoke, yes.                    But I did not

 16         lead this call.

 17                        If I'm not mistaken, I was driving in

 18         the rain and -- but I was not -- I was not a,

 19         you know, a stated part of the agenda, if you

 20         will.

 21               Q.       What did you say on the call?

 22               A.       I don't recall exactly.



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   1                       But because there were fellow

   2        Georgians on the call, I'm sure I offered my

   3        encouragement.

   4              Q.       What do you mean by "encouragement"?

   5              A.       Well, I think it's good any time that

   6        our citizens involve themselves productively.

   7                       So, again, I don't recall my exact

   8        language at all, but I think just encouragement

   9        in the general sense.

 10               Q.       What was generally discussed on the

 11         call?

 12               A.       As I indicated, I was driving in the

 13         pouring rain, so it was very difficult for me to

 14         track the nature of the call.                      So I had --

 15         again, I had a very difficult time understanding

 16         what was being said and by whom.

 17                        So I don't have a particularly

 18         remarkable recollection of this call.

 19                        I believe I was spending more time

 20         trying to keep my car on the road.

 21               Q.       Do you know approximately how many

 22         people were on in call?



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   1              A.       I do not.

   2              Q.       More than a handful?

   3              A.       I have no recollection.                    I don't know

   4        how many people were on the call.                         I don't know

   5        if it was more than a handful or not.

   6              Q.       Okay.

   7                       But did the general topic include the

   8        elector challenges that True The Vote was

   9        filing?

 10               A.       Based on the email, that would be my

 11         recollection.

 12                        But, again, it just -- it wasn't a

 13         very big activity for me because I wasn't

 14         directly involved with what they were doing.                          I

 15         just don't have a very detailed recollection of

 16         that call.

 17               Q.       Okay.

 18                        MS. FORD:          We can pull this down.

 19      BY MS. FORD:

 20               Q.       In December of 2020, were you already

 21         familiar with -- sounds like you were already

 22         familiar with the concept of list maintenance.



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   1                       Is that right?

   2              A.       Yeah -- well, with the national change

   3        of address process, yes.

   4              Q.       Were you familiar with the National

   5        Voter Registration Act, or NVRA for short?

   6              A.       Not in the summer of 2020, no.                  I

   7        hadn't researched it as carefully as I had

   8        later.

   9              Q.       By December of 2020, were you familiar

 10         with the NVRA?

 11               A.       Yes.

 12               Q.       What is your understanding of how NCOA

 13         data is used under the NVRA?

 14               A.       I believe, if I'm not mistaken, it's

 15         section 8 that articulates the use of NCOA as a

 16         reasonable means for identifying individuals

 17         that may have moved.

 18                        I believe there is safe harbor

 19         language with that respect as well.

 20                        But it's my understanding that NCOA is

 21         explicitly cited as a reasonable means of

 22         identifying individuals that may have moved.



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   1                       And if I'm not mistaken, it's within

   2        the general confines of the guidance that's

   3        provided for the removal of individuals from

   4        lists as well.

   5              Q.       What do you mean by "safe harbor

   6        language"?

   7              A.       Well, I'm surrounded by attorneys, but

   8        I'm not one.

   9                       So my understanding is that language

 10         is provided to give the states, you know, again,

 11         the ability to use NCOA as a means to identify

 12         people that -- as a reasonable means to identify

 13         probable cause that somebody has moved their

 14         primary residence.

 15               Q.       And you understand the NVRA, after

 16         someone is identified on the NCOA list -- that

 17         the state would send a notice to the voter?

 18               A.       Is that a statement?

 19                        Or a question?

 20               Q.       It's a question.

 21                        Is that your general understanding of

 22         how it works?



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   1              A.       Yeah -- my general understanding is

   2        the NVRA provides a very thorough process for

   3        protecting the voter to ensure that -- that

   4        there is multiple occasions of engaging that

   5        voter to verify that -- their address.

   6                       So more specifically -- and I know

   7        that there are those on this call that are very

   8        familiar with NVRA -- but that it's a

   9        multitiered process that expands over a

 10         significant amount of time from notifications,

 11         as well as lack of involvement in elections.

 12                        So -- and by my understanding, that's

 13         a process that can transpire over a number of

 14         years -- six or seven years, if I'm not

 15         mistaken.

 16               Q.       Okay.

 17                        So it's your understanding that that's

 18         not a process that could be accomplished in a

 19         short amount of time.

 20                        Is that right?

 21               A.       No.     It is absolutely my

 22         understanding -- and appropriately so -- that



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   1        it's a process that takes a considerable amount

   2        of time, and I'm happy that it was.

   3              Q.       Did Georgia use that process in

   4        advance of the 2020 runoff election?

   5              A.       I suspect they did not, because I

   6        believe that NVRA also further stipulates

   7        periods -- blackout periods -- where you can't

   8        engage in any of that activity within a certain

   9        proximity of an election.

 10                        But I'm also not aware of what the

 11         Secretary of State's office was or wasn't doing.

 12               Q.       Okay.

 13                        What is your understanding of the

 14         purpose of the blackout period?

 15               A.       Well, again, I think that's reasonably

 16         self-evident.

 17                        We all have a vested interest in our

 18         laws not being exploited to affect a desired

 19         outcome in an election.

 20                        And so -- and I don't know the

 21         motivation for those that drafted or passed the

 22         NVRA.



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                                                                             Page 123
   1                       But I would hope their motivation was

   2        to create a buffer so that we don't see

   3        brinkmanship within the electoral process

   4        inadvertently permitted by federal statute.

   5                       So I think the process that requires a

   6        significant amount of due diligence, significant

   7        amount of interaction with the voter, and

   8        provides for some blackout periods within

   9        certain proximities of elections is a very, very

 10         good thing.

 11               Q.       Okay.

 12                        And just to put a fine point on that,

 13         so I am sure that I understand you, is the point

 14         of that need for interaction with the voter a

 15         fact that just appearing on the NCOA list does

 16         not mean that someone is ineligible to vote?

 17                        And that investigation is needed?

 18               A.       Yeah -- that's a very -- very specific

 19         fine point that you have put on there, but it's

 20         one of many points.               There is a number of

 21         variables that could influence why an individual

 22         may or may not be an eligible voter.



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   1                       So my assumption is that that's a

   2        process to ensure that we are not wholly relying

   3        on any one piece of information.

   4                       You know, my understanding and my

   5        belief that the NCOA is -- it is an indicator

   6        that there may be an anomaly, but then that

   7        needs to be substantiated through subsequent

   8        diligence.

   9                       That's my understanding of how it

 10         works in the state -- that at no point would any

 11         of these challenges prevent an eligible voter

 12         from voting.         That's not the intent.

 13                        The intent is to identify if there is

 14         a data anomaly, then put in motion a process

 15         that ultimately, when fully adjudicated,

 16         identifies whether or not an individual -- with

 17         their participation, hopefully -- whether or not

 18         they are eligible or not.

 19                        I firmly believe -- and I -- I don't

 20         mean to go long here -- that there are

 21         individuals that are unaware that they are still

 22         registered at their own county.                        So this is a



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   1        good process to notify people that there is a

   2        process in place to ensure that you can vote and

   3        vote eligibly.

   4              Q.       Okay.

   5                       MS. FORD:          Can we please pull up

   6        Exhibit I and mark it as Exhibit I?

   7                       (Exhibit I, Single-page document

   8        bearing heading: Jim Flenniken (no Bates No.),

   9        marked for identification)

 10                        (Pause)

 11                        MS. FORD:          Could we make the comment

 12         by Mr. Somerville a little bit bigger so we all

 13         can read, please?

 14      BY MS. FORD:

 15               Q.       This is a comment from your Facebook

 16         page in which you appear to write:                             There are

 17         literally thousands of individuals that

 18         legitimately used NCOA to forward their mail out

 19         of the county/state but remain legal residents.

 20                        Did you write this?

 21               A.       Yes, I did.

 22               Q.       I assume you believed that to be true



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   1        at the time you wrote it?

   2              A.       I believe that to be true at the time,

   3        and I believe that to be true now.

   4              Q.       Here you write back to Mr.

   5        Flenniken -- I believe his name is -- that there

   6        is a process in place to make sures his wife

   7        wasn't taken off the rolls improperly, as he had

   8        noted in his comment to you.

   9                       You say:         At some point if your wife

 10         filed an NCOA, the state will send her a note

 11         and ask her to verify if she is still a

 12         resident.        She would, of course, indicate she is

 13         and the matter would end there.

 14                        But since that process hasn't been run

 15         by the state since early 2019, and given the

 16         unprecedented reliance on -- this cycle on

 17         mail-in ballots, our challenges sought to force

 18         that verification.

 19                        And I assume you wrote this as well?

 20               A.       I did.

 21               Q.       Were you speaking about the challenges

 22         that you helped organize in December when you



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                                                                               Page 127
   1        said, "Our challenges sought to force that

   2        verification"?

   3              A.       Well, I think I was speaking more

   4        broadly on the data integrity effort.                          I think

   5        the word "challenge" just became common

   6        vernacular.

   7                       As it turned out, not that many were

   8        ultimately submitted.

   9                       But I think this captures well the

 10         point, which was that there is a process to

 11         protect voters, but that process needs to be

 12         undertaken in order to identify those votes that

 13         are not eligible and would otherwise

 14         disenfranchise the very voters that we're trying

 15         to protect.

 16               Q.       Here you seem to be recognizing that

 17         the NVRA traditional NCOA process was not going

 18         to occur in the few months or weeks before the

 19         runoff election.

 20                        Is that correct?

 21               A.       I don't -- I don't know if that's what

 22         I was acknowledging.



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   1                       I think -- I think what I was trying

   2        to indicate here is that there is a process and

   3        we should follow it; and that our data file,

   4        based on our estimation from looking at it, had

   5        not been maintained in a very long time; and

   6        that that was creating a significant number of

   7        anomalies.

   8                       But those people that were eligible

   9        voters are well-protected under the current laws

 10         and current processes; and I didn't see a high

 11         probability that anybody that -- that appeared

 12         on an NCOA file but did not, in fact, legally

 13         change a resident would be prevented from

 14         voting.      I still confidently believe that.

 15                        And I think --

 16               Q.       Okay.

 17               A.       -- and to go further -- I know you

 18         didn't -- well, that's okay.

 19               Q.       I'm sorry.           I don't mean to cut you

 20         off.

 21               A.       Well, I guess my point is I think the

 22         thrust of this response was to also make a



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   1        distinction between the concept of a purge,

   2        which this effort was also not about.

   3              Q.       Okay.

   4                       I do want more clarity on when you say

   5        you wanted to force that verification.

   6                       Does that simply mean you wanted

   7        election officials to do the investigation that

   8        they hadn't done in several years on NCOA

   9        individuals?

 10               A.       Well, I think more accurately, what I

 11         learned after combing through this data, what I

 12         believed then and what I believe now is that

 13         they had not run the NCOA on that file in such a

 14         long period of time that it created significant

 15         issues that compromised the confidence of the

 16         entire state in the election outcomes; and that

 17         that can be simply remedied by them running that

 18         NCOA process per the NVRA more frequently.

 19                        And if permitted to do so -- again,

 20         I'm not establishing policy for the state,

 21         nobody in the Secretary of State's office cares

 22         what I think -- but as soon as they could run



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                                                                             Page 130
   1        the NCOA on it, they were going to see the same

   2        numbers that we saw.

   3                       But this exchange is wholly

   4        independent of True The Vote.

   5              Q.       I understand that.

   6                       Mr. Somerville, I think what I'm

   7        confused on is when you generated these lists,

   8        did you expect they would be given to the

   9        counties and, like you say here, they would do

 10         the verification that they hadn't done in the

 11         past couple years?

 12                        Is that the expectation or hope?

 13               A.       So when we -- I can't say we.

 14                        When I started looking at the file, I

 15         don't know what other people were thinking, I

 16         actually didn't contemplate the challenge -- the

 17         section 230 challenge -- I think if I have got

 18         the codes right -- I wasn't aware of it.                       I

 19         didn't know it existed.

 20                        So at the time, my sole interest was

 21         just trying to understand the state of our voter

 22         files.      I think I've indicated it in several of



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                                                                             Page 131
   1        my responses.

   2                       There is a point at which I thought

   3        that I had the ability to submit a challenge

   4        statewide.

   5                       And so -- and then over time, my

   6        understanding of the actual provision obviously

   7        fine tuned, and I recognized that it had to be

   8        done at the county level.

   9                       And certainly any effort that was

 10         going to bring attention to these anomalies

 11         within the data file, to me, I viewed favorably.

 12                        How that was going to happen, or if

 13         that was going to happen -- difficult at the

 14         time to put too much time around that because --

 15         again, as I indicated in the beginning and

 16         earlier testimony -- I don't know what the

 17         government does, or why they do it, or if they

 18         would do it, or if these challenges were

 19         unprecedented, or if it was common.

 20                        My overarching objective -- and I

 21         believe throughout, it never waned -- was trying

 22         to draw attention to this; and then try to play



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                                                                             Page 132
   1        an active role in helping remedy the issue.

   2                       And the issue was the voter fraud.

   3              Q.       Were you hoping to remedy anything --

   4        I mean, you say here you were hoping to do it on

   5        an earlier exhibit.               You thought this

   6        verification needed to be done before the

   7        January 5th, 2021 runoff.

   8                       So, I mean, that doesn't sound like a

   9        long-term vision there.                  That sounds like

 10         something you wanted to be done before the date

 11         of the runoff election.

 12                        Is that fair?

 13               A.       Well, I think it's one line in

 14         thousands of words that I wrote, or spoke to

 15         lots of people about the effort, so I don't know

 16         that that was an overarching motive.

 17                        But I do believe that the idea was we

 18         need to correct the hygiene issues within this

 19         file so that we only have eligible people

 20         participating in our elections, be them whoever

 21         they are, as soon as we possibly can.

 22                        Whether or not that fell within the



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                                                                             Page 133
   1        blackout periods of the NVRA, I'm not an

   2        elections attorney.               You know, I'm not.           So I

   3        don't entirely know whether or not that was

   4        possible or feasible.

   5                       But I think urgency around this matter

   6        was important.           I still think that.

   7              Q.       Okay.

   8                       (Pause)

   9                       MS. FORD:          Give me one second here.

 10                        We can go ahead and take this down,

 11         though.

 12      BY MS. FORD:

 13               Q.       Before, you mentioned -- you agreed at

 14         least that just appearing on the NCOA list did

 15         not mean that someone was ineligible to vote.

 16                        Is that correct?

 17               A.       Not only is that correct, but I made a

 18         very focused effort whenever and wherever

 19         possible to indicate that we did not -- I say

 20         we -- I did not believe that that was an

 21         indication of anybody knowingly doing anything

 22         wrong, or knowingly violating any law, or



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                                                                             Page 134
   1        potentially violating any law.

   2                       It was simply a series of data

   3        constructs that flagged a record as being

   4        possibly that of an ineligible voter and

   5        required closer attention, which I believe is

   6        the spirit of the law.

   7              Q.       So fair to say you would not have

   8        wanted the list of 40,000 to go out to the

   9        counties and for the county to unilaterally

 10         cross them off the list of voters, without any

 11         investigation?

 12               A.       That's remarkably fair to say.

 13                        It would be illegal to do so; it would

 14         be improper to do so; and it would be counter to

 15         the purposes of the effort and, frankly, my core

 16         values.

 17                        This effort has been and continues to

 18         be about restoring some degree of confidence in

 19         our elections to the benefit of every voter; and

 20         to make sure that nobody is disenfranchised due

 21         to individuals who may have knowingly or

 22         unwittingly participated in an election.



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                                                                              Page 135
   1                       And we know it occurred.

   2                       So, yes, that's very fair to say.

   3              Q.       So, I mean, here is my question, Mr.

   4        Somerville, and I'm going to be very candid with

   5        you, is:       You said you recognize that the NVRA

   6        process -- and I realize this was not an NVRA

   7        process -- takes a lot of time.                        It's a

   8        multitiered effort.               It takes significant

   9        investigation.

 10                        And if you recognize you can't just

 11         take a list of NCOA individuals and blanket make

 12         them ineligible, you have to have understood

 13         that some investigation would be required and it

 14         would be required within a two-week period.

 15                        Is that fair to say?

 16               A.       No.     It's not.

 17                        What you are suggesting is you are

 18         making a leap between identifying records of

 19         individuals that appeared on an NCOA and tying

 20         that to their purging or removal from voter

 21         files.

 22                        I don't believe anywhere in my



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                                                                             Page 136
   1        testimony I have suggested that anybody would be

   2        moved to inactive or removed from a voter file.

   3                       As I understand it -- and again, I'm

   4        not a lawyer, I'm a citizen, but I'm a citizen

   5        that I believe was exercising a state law

   6        written for me as a citizen -- is we are trying

   7        to highlight individuals that may have voted in

   8        a county that they no longer resided in.

   9                       The process of highlighting them and

 10         bringing them to the attention of the county

 11         does not nullify their registration with the

 12         state.      It doesn't even begin to do anything

 13         that closely approximates removing them from the

 14         files.

 15                        It simply identifies and -- to the

 16         county as an individual that may have -- may no

 17         longer reside in the county.

 18                        Then there is a process from this

 19         point forward which is strictly governed, as I

 20         understand it, by federal and state law.

 21                        So I think it's -- I think it's a

 22         stretch to suggest that we are trying to make



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                                                                             Page 137
   1        something happen in two weeks.

   2                       What we are trying to do is bring this

   3        matter to the attention.

   4                       And I don't believe that there is any

   5        provision that precludes you from submitting an

   6        elector challenge.              In fact, if I'm not

   7        mistaken, the very language of the law permits

   8        you to make that challenge to the board of

   9        election at any time.

 10                        I think the provision that we are

 11         discussing -- or at least that's implied around

 12         the NVRA -- is what process is required before

 13         you can remove an individual -- individual from

 14         your voter role; and that's a multiyear process.

 15                        So to be candid with you, I think

 16         those items are being conflated and they

 17         shouldn't be.          That's -- that's not at all the

 18         motive.

 19                        Urgency was the motive, and

 20         highlighting the issue urgently was the motive.

 21               Q.       Okay.

 22                        MS. FORD:          Can we go to Exhibit G,



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                                                                             Page 138
   1        please?

   2                       (Exhibit G, Multipage document

   3        entitled: Defendant Derek Somerville's Responses

   4        to Plaintiffs' First Interrogatories, dated

   5        March 15, 2021 (no Bates Nos.), marked for

   6        identification)

   7                       (Pause)

   8     BY MS. FORD:

   9              Q.       Mr. Somerville, this is interrogatory

 10         responses that we requested and that you

 11         responded to.

 12                        Do you recognize this?

 13               A.       I do.

 14               Q.       And you remember reading these and

 15         providing responses to them?

 16               A.       I do remember.

 17               Q.       Okay.

 18                        And you remember signing the document?

 19               A.       I do remember signing the document.

 20               Q.       I would like to just go through a

 21         couple of these to make sure they are still

 22         accurate, or give you a chance to update your



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                                                                             Page 139
   1        response if you have any clarifications.

   2                       MS. FORD:          Can we scroll down to

   3        interrogatory No. 1?                That will be a couple

   4        pages in.

   5                       (Pause)

   6                       MS. FORD:          I'm sorry.           This would be

   7        definition No. 1.             We are looking for

   8        interrogatory No. 1.                I apologize that I didn't

   9        write the page down.

 10                        MS. KRAMER:           It's on page 7,

 11         counsel --

 12                        MS. FORD:          Thank you.           Yeah, this

 13         right here.

 14                        MS. KRAMER:           Sorry.

 15                        MS. FORD:          I appreciate it.

 16      BY MS. FORD:

 17               Q.       So for this interrogatory, when we ask

 18         you to describe your role or involvement in

 19         compiling any list of targeted voters for the

 20         purpose of Georgia elector challenges, you

 21         stated you had no role or involvement in

 22         compiling any list of targeted voters for the



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                                                                             Page 140
   1        purposes of the Georgia elector challenges.

   2                       Is that still accurate?

   3              A.       That is accurate.

   4              Q.       Did you interpret this question to

   5        refer only to challenges that were filed in

   6        conjunction with True The Vote?

   7              A.       Well, I believe that that is the

   8        definition that was presented in this same

   9        document -- that the Georgia elector challenges

 10         were challenges that were -- and I'm

 11         paraphrasing -- prepared for -- prepared by and

 12         submitted by True The Vote, yes.

 13               Q.       Would your answer be different if you

 14         were responding to challenges that you,

 15         yourself, were involved in without the

 16         assistance of True The Vote?

 17               A.       I'm sorry.           Can you state that

 18         question again?

 19               Q.       Yes.

 20                        If you -- would your answer be

 21         different if you were responding to this

 22         question regarding your own challenges on the



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                                                                             Page 141
   1        list that you prepared?

   2                       MS. KRAMER:           I'm going to object real

   3        fast -- sorry -- to relevance and scope.

   4                       These interrogatories -- you are

   5        asking him to speculate on what he might have

   6        done if that were the case right now, but that's

   7        not what this in is -- that's not what this is

   8        about.

   9                       MS. FORD:          Ms. Kramer, the

 10         interrogatory, when it defined Georgia elector

 11         challenges, did not refer to challenges that

 12         solely True The Vote prepared.

 13      BY MS. FORD:

 14               Q.       It asked about challenges that you

 15         prepared as well.

 16                        So I'm asking if this answer is

 17         different if it is not contemplating True The

 18         Vote.

 19               A.       So my response was under the

 20         understanding that this was a lawsuit brought

 21         against True The Vote and their activities.                         And

 22         then there was a number of individuals that are



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                                                                             Page 142
   1        cited under assumption that they worked in

   2        conjunction with True The Vote for those

   3        challenges.

   4                       It was further my understanding that

   5        the only reason I was even involved was because

   6        I appeared in a press release.

   7                       Had the question either been asked

   8        differently, or if I was asked whether or not I

   9        participated in compiling any list of targeted

 10         voters, or rather for challenges, then I would

 11         have answered in the affirmative.

 12                        But that was not my understanding of

 13         this interrogatory.

 14               Q.       So was that your understanding for all

 15         the interrogatories? -- is that they were only

 16         asking about your efforts with True The Vote

 17         challenges?

 18               A.       Yes, ma'am.

 19               Q.       Okay.

 20                        And your answers would have been

 21         different if you had been answering about your

 22         own work with Mark Davis?



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                                                                             Page 143
   1              A.       Well, I can't speculate because -- how

   2        I would respond because I don't know how the

   3        question would be formulated.

   4                       But if the -- if the scope was beyond

   5        what I understand this case to be, then my

   6        answers may have been different, yes.

   7              Q.       Okay.

   8                       MS. FORD:          For interrogatory No. 5 --

   9        could we go to that one, please?

 10                        (Pause)

 11                        MS. FORD:          Okay.

 12      BY MS. FORD:

 13               Q.       Here we've asked you to describe all

 14         individuals affiliated with True The Vote with

 15         whom you communicated and -- I apologize?

 16                        MS. FORD:          Could we actually go to the

 17         next page of this answer?

 18                        Yeah, that -- that paragraph right

 19         there.

 20      BY MS. FORD:

 21               Q.       You say:         On December 17, you received

 22         "a text message from Catherine Engelbrecht,



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                                                                                Page 144
   1        informing me that TTV had a meeting with the

   2        Georgia Secretary of State's office.                           I never

   3        had any further conversation with request Ms.

   4        Engelbrecht about that meeting, nor did that

   5        text lead to any coordination between TTV and

   6        myself."

   7                       Is that still accurate?

   8              A.       That's my recollection.                    I don't

   9        recall any further conversations regarding their

 10         meeting with the Secretary of State's office.

 11               Q.       Okay.

 12                        But today you did testify that you

 13         remained in communication with True The Vote and

 14         Ms. Engelbrecht after December 17, correct?

 15               A.       I have had communication with them,

 16         but that we remained in communication probably

 17         implies more communication than that has taken

 18         place.

 19               Q.       Okay.

 20                        MS. FORD:          We can take this down.

 21                        And can we please pull up Exhibit J

 22         and mark it as Exhibit J?



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                                                                             Page 145
   1                       (Exhibit J, Multipage document

   2        entitled: Defendant Derek Somerville's Responses

   3        to Plaintiffs' First Requests for Production,

   4        dated March 15, 2021 (no Bates Nos.), marked for

   5        identification)

   6     BY MS. FORD:

   7              Q.       Mr. Somerville, these are just the

   8        requests for production.

   9                       Do you remember seeing this before and

 10         reading through this?

 11               A.       I do remember that.

 12               Q.       I guess I have the same -- same

 13         question here as:             When we asked you to -- for

 14         documents and communications discussing --

 15         analyzing the Georgia elector challenges, you

 16         produced a single document.

 17                        Did you similarly interpret these

 18         questions only to refer to challenges that were

 19         filed with True The Vote?

 20               A.       Yes.

 21               Q.       Okay.

 22                        Would you have had more documents to



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                                                                             Page 146
   1        produce if you were responding to challenges you

   2        had filed on your own?

   3              A.       Without seeing the request, I don't

   4        know.

   5              Q.       Okay.

   6                       MS. FORD:          We can take this down.

   7        Thank you.

   8                       I just have a few more questions.

   9     BY MS. FORD:

 10               Q.       Have you been speaking to local GOP

 11         groups in the past few months about election

 12         integrity?

 13               A.       I have.

 14               Q.       What do those presentations generally

 15         discuss?

 16               A.       Well, I think they are all out there

 17         and on the record.

 18                        The general theme is:                   We need to move

 19         beyond the conspiracies and vitriol and move

 20         towards cogent strategies, number one, for

 21         ensuring the integrity of our elections, but

 22         also for the political party itself.



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                                                                             Page 147
   1              Q.       Okay.

   2                       And would you say conspiracies and

   3        vitriol was a theme in Georgia after the 2020

   4        general election?

   5              A.       Could you restate that question?

   6              Q.       Would you say that conspiracies and

   7        vitriol were a theme after the 2020 general

   8        election in Georgia?

   9              A.       Yes.

 10               Q.       Okay.

 11                        Just conspiracies about some sort of

 12         fraud in the election?

 13                        Or democrats stealing the election?

 14                        Is that the general -- or you tell me.

 15                        What were the general conspiracies or

 16         vitriol swirling around?

 17               A.       Well, I think they are relatively

 18         known to all.

 19                        I don't know that I would necessarily

 20         view them in the partisan light as you just

 21         characterized it, but I think there was an awful

 22         lot of discussion and there was conspiracies



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                                                                             Page 148
   1        ranging from shoot-outs in warehouses in

   2        Germany.       There is dozens, and dozens, and

   3        dozens.

   4                       And what I have been trying to do --

   5        and I am invite only, I'm not offering my time,

   6        but people invite me to come speak -- is I'm

   7        trying to return those conversations to a

   8        common-sense discussion around election

   9        integrity.

 10                        I'm also speaking out directly against

 11         those conspiracies.

 12                        And, again, there is any number of

 13         them that surface, or I am confronted with when

 14         I go to these counties.

 15               Q.       From your perspective, did those

 16         theories get a little out of hand after the

 17         general election?

 18               A.       By my estimation, they got entirely

 19         out of hand, to everybody's detriment.

 20               Q.       After the 2020 general election, were

 21         you aware in Georgia that some election

 22         officials had been accused of fraud?



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                                                                             Page 149
   1              A.       I'm not aware of any specific

   2        allegations.

   3                       But I know the -- you know, election

   4        fraud was a -- was a -- became a dial tone, if

   5        you will.        It was constantly swirling around in

   6        every venue.

   7                       But I'm not aware of any specific

   8        allegations.         I don't, at least, recall any.

   9                       MS. FORD:          Can we please pull up

 10         Exhibit L and mark it as Exhibit L?

 11                        (Exhibit L, Two-page document

 12         entitled: True The Vote Launches Georgia

 13         Election Integrity Hotline as Part of the Most

 14         Comprehensive Ballot Security Effort in Georgia

 15         History, dated December 15, 2020 (no Bates

 16         Nos.), marked for identification)

 17                        (Pause)

 18      BY MS. FORD:

 19               Q.       So this is a press release from True

 20         The Vote that was released on December 15, 2020,

 21         which I believe would have been the same day

 22         that you had dinner with Ms. Engelbrecht and



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                                                                             Page 150
   1        Gregg.

   2                       And this press release discusses a

   3        24/7 hotline to report voter fraud that True The

   4        Vote had just launched.

   5                       Have you seen this before?

   6              A.       I have not.

   7              Q.       Have you ever discussed this hotline

   8        with True The Vote?

   9              A.       I have not.

 10               Q.       Were you aware that True The Vote had

 11         launched this hot line?

 12               A.       I don't have any recollection of it.

 13         If it was shared with me, I don't have any

 14         recollection of it at all.

 15               Q.       Okay.

 16                        We can go to it, or you can just take

 17         my word for it -- that this release also

 18         mentions plans to -- quote -- "monitor absentee

 19         ballot drop boxes."

 20                        Is that something you ever discussed

 21         with True The Vote?

 22               A.       No, it was not.



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                                                                             Page 151
   1              Q.       Okay.

   2                       And were you aware of these plans?

   3              A.       No, I was not.

   4                       MS. FORD:          Can we pull up Exhibit M

   5        and mark it as Exhibit M?

   6                       (Exhibit M, Three-page document

   7        entitled: True The Vote Launches "Validate the

   8        Vote" Initiative and Whistleblower Fund to

   9        Ensure Election Validity, Process Integrity,

 10         dated November 6, 2020 (no Bates Nos.), marked

 11         for identification)

 12      BY MS. FORD:

 13               Q.       This is a press release from True The

 14         Vote that was released in November, 2020,

 15         discussing True The Vote's whistleblower fund

 16         for those who reported instances of voter fraud

 17         or election fraud.

 18                        Have you seen this before?

 19               A.       I don't believe I have.

 20               Q.       Did you ever discuss this

 21         whistleblower fund with True The Vote?

 22               A.       I did not.



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                                                                              Page 152
   1              Q.       Were you aware they had launched this

   2        fund?

   3              A.       I don't have any recollection of it,

   4        no.

   5                       MS. FORD:          We can take this down,

   6        thank you.

   7                       Can we please pull up Exhibit K and

   8        mark it as Exhibit K?

   9                       (Exhibit K, Single-page document

 10         bearing heading: Derek Somerville, dated

 11         November 15, 2020 (no Bates No.), marked for

 12         identification)

 13                        (Pause)

 14                        MS. FORD:          Can we scroll up, please?

 15                        Or actually, I'm sorry.                    It's there.

 16      BY MS. FORD:

 17               Q.       This is a snapshot from your Facebook,

 18         in which you write on November 15, 2020:                        This

 19         is what we are up against.                    600,000 mail ballots

 20         and counting.

 21                        Did you write this?

 22               A.       It appears I did, yes.



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                                                                             Page 153
   1              Q.       Who is the "we" in "this is what we

   2        are up against"?

   3              A.       I believe the context would be that

   4        "we" is the people of Georgia.

   5                       The issue is, as I indicated earlier,

   6        that the larger the amount of mail-in ballots,

   7        the more exaggerated the affect of a bad voter

   8        file.

   9                       So to me, the intent here is to

 10         highlight the fact that we have a reliance on

 11         mail-in ballots that's greater than ever -- is

 12         how I would understand it.

 13                        It was a year ago, but that -- that I

 14         believe is the context; and that is what I

 15         believe today is the primary issue.

 16               Q.       Okay.

 17                        So you -- you thought it was

 18         concerning that so many mail ballots are being

 19         either requested or cast?

 20               A.       Well, I think I've continued to

 21         maintain that the primary issue that we have

 22         with respect to the quality of the election in



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                                                                             Page 154
   1        Georgia was that we had an unprecedented level

   2        of mail-in ballots that not only taxed the

   3        system, but truly magnified the data errors

   4        within our voter file.

   5                       So for me, that's a concerning number

   6        because we have neither the infrastructure

   7        and -- at least at the time that this was

   8        written, I don't know if the Secretary of State

   9        has taken any action since then -- but the voter

 10         file itself is problematic.

 11               Q.       So did you have a concern that out of

 12         this 600,000, that some of those would not be

 13         residents of Georgia?

 14               A.       Yes, that's -- that's fair.

 15               Q.       Okay.

 16               A.       And that's --

 17               Q.       I mean --

 18               A.       -- one of many.

 19                        Sorry.

 20               Q.       Sorry.       What were the other --

 21               A.       Yeah, I'm sorry --

 22               Q.       -- the other reasons --



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                                                                             Page 155
   1              A.       -- to --

   2              Q.       -- for the concern, then?

   3              A.       Sorry.       I feel bad for the

   4        stenographer.

   5                       Yeah, the -- so it's a function of

   6        both the data file, but it's also the system had

   7        already shown its relative inability to handle

   8        the volume once already.

   9                       And the fundamental -- and maybe

 10         rhetorical -- question is whether or not

 11         improvements were made to enhance the

 12         reliability of that process, as it is going to

 13         be a theme going forward --

 14               Q.       Okay.

 15               A.       -- the reliance on mail-in ballots.

 16               Q.       So you mentioned before that you

 17         thought it was possible there were voters who

 18         had moved, say, either -- you know, maybe to a

 19         different county that didn't know that they

 20         weren't eligible any more, right?

 21               A.       Yes.

 22               Q.       Did you think that, you know, these



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                                                                             Page 156
   1        challenges would potentially make a voter who

   2        had moved to another county, sort of, like,

   3        think twice about voting in their original

   4        county or state?

   5              A.       I believe what I thought was that it

   6        would alert individuals that they needed to

   7        update their registration so that they could

   8        participate in the election.

   9              Q.       Was it your hope or expectation that

 10         the voters who were identified in your process

 11         would be notified, as there might be a problem

 12         here?

 13               A.       Ultimately, that's the process that

 14         would have been undertaken, and has probably

 15         been undertaken if the state themselves ran the

 16         NCOA.      I believe that's their processes -- to

 17         notify the voter and then afford them an

 18         opportunity to either clarify or update their

 19         registration.

 20                        Again, the objective here is to ensure

 21         everybody that is eligible can vote.

 22                        And I would maintain that there is a



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                                                                             Page 157
   1        significant number of people that were unaware,

   2        due to circumstances, that they may have cast a

   3        vote in a county that they are no longer

   4        eligible to vote in.                And I believe the NCOA

   5        process was the only way to meaningfully alert

   6        the voters that that was a condition.

   7              Q.       Mr. Somerville, do you have any

   8        regrets about working with True The Vote in

   9        December of 2020?

 10               A.       Well, I don't think you can

 11         characterize what I did was work with them.

 12                        I met them.           I spoke with them.          I

 13         have been cordial to them, as I would be

 14         anybody.       So I didn't work with them, so I don't

 15         have regrets working with them.

 16                        Admittedly, our motivation for effort

 17         was benign.         It was governed by the laws in this

 18         state, and it was driven by a passion to bring a

 19         sensible discussion around:                     How we can improve

 20         the overall environment for everybody?

 21                        And our association with True The Vote

 22         has, I think, skewed that a little bit.



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                                                                             Page 158
   1                       I don't know how people view True The

   2        Vote.      They are not a regular discussion point

   3        for me.

   4                       But certainly I think it's fair to say

   5        this is not particularly pleasant experience,

   6        and that was never our intention.

   7              Q.       When you say that your motivation was

   8        benign, do you have any reason to believe that

   9        True The Vote's motivation was not benign?

 10               A.       I have no reason to believe that.

 11                        MS. FORD:          That's all the questions

 12         that I have for you today.

 13                        MS. KRAMER:           And I do not have any

 14         follow-up questions.

 15                        MS. FORD:          Great.

 16                        Mr. Somerville, thank you for being

 17         here today.

 18                        THE VIDEOGRAPHER:                The time is 11:59

 19         a.m., October 6, 2021, and this concludes

 20         today's deposition.               We are now off the record.

 21                                    *         *          *

 22



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                                                                             Page 159
   1                    E N D      O F      P R O C E E D I N G

   2           Time noted 11:59 a.m. Eastern Daylight Time

   3                                   *         *          *

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                                                                             Page 160
   1                          C E R T I F I C A T E
   2
   3                       I, BRANDON RAINOFF, a Federal Certified
         Realtime Reporter and Notary Public within and for
   4     the State of New York, do hereby certify:
   5                        That      DEREK SOMERVILLE, the witness
         whose     deposition is hereinbefore set forth, was duly
   6     sworn by me and that such deposition is a true record
         of the testimony given by the witness.
   7                       I further certify that I am not related
         to any of the parties to this action by blood or
   8     marriage, and that I am in no way interested in the
         outcome of this matter.
   9                       IN WITNESS WHEREOF, I have hereunto set
         my hand this 6th day of October, 2021.
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20                      ____________________________________
 21                      BRANDON R. RAINOFF, RMR, CRR, RPR, FCRR
 22


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                                                                             Page 161
  1           Derek Somerville, c/o

              THE BOPP LAW FIRM

  2           1 South Sixth Street

              Terre Haute, Indiana         47807-3510

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: October 6, 2021

  5           Deponent: Derek Somerville

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

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  5             Witness Name: Derek Somerville
                Deposition Date: October 6, 2021
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
 15
 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  7

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  9             Witness Name: Derek Somerville

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 11             Page No.        Line No.              Change

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 22            Signature                                              Date



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